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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

JOHN DOE, WILLIAM MICHAEL
“MIKE” CROTHERS, AND
PETER “PETE” MULDOON

       Plaintiffs,                        §
                                          §      CASE NO. ___________________
     v.                                   §        JURY TRIAL DEMANDED
                                          §
TETON COUNTY BOARD OF COUNTY §
COMMISSIONERS, MATT CARR in his §
individual and official capacity as Teton §
County Sheriff, ERIN WEISMAN in her       §
individual and official capacity as Teton §
County and Prosecuting Attorney, and      §
BRETON BOMMER, DAVID HODGES, §
CLAYTON PLATT, ANDREW ROUNDY, §
CLARK ALLAN, AND RICHARD ROES, §
in their individual capacities,


       Defendants.




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                                 PLAINTIFFS’ ORIGINAL COMPLAINT

           COME NOW Plaintiffs John Doe (“Doe”),1 William Michael “Mike” Crothers

(“Crothers”), and Peter “Pete” Muldoon (“Muldoon”) (together, “Plaintiffs”), by and through their

attorneys, and file this Original Complaint for damages against Defendants Teton County Board

of County Commissioners (“Teton County”), Matt Carr, Erin Weisman, Breton Bommer, David

Hodges, Clayton Platt, Andrew Roundy, Clark Allan, and RICHARD ROES (together,

“Defendants”), and in support thereof, respectfully alleges and shows the Court as follows:

                                            I.       INTRODUCTION

           This case is about consistent patterns and practices of conduct by Teton County and

multiple of its law enforcement employees to exert public pressure and take other illegal actions

to prejudice and harm individuals wrongly accused of perpetrating a sexual assault-related crime,

resulting in the deprivation of those individuals’ constitutional rights, along with other civil

wrongs. Teton County and its law enforcement have overstepped the law in their overzealous

efforts to effectuate alleged justice. Although Teton County’s actions have undoubtedly harmed

many, the three plaintiffs—Doe, Crothers, and Muldoon—file this lawsuit to seek justice for

themselves, and to hopefully cease this practice towards others in the future.

           Doe, Crothers, and Muldoon have all been wrongfully accused of sexual assault-related

crimes. All three have had their sexual assault-related charges dropped or have otherwise prevailed

on them. Doe has had two sexual assault proceedings wrongfully brought against him, only for

Teton County to later drop them because they had no merit. Crothers had a sexual battery charge

wrongfully brought against him, which he was forced to take to trial where he ultimately prevailed




1
    John Doe is filing a motion to proceed under the pseudonym John Doe shortly after this Complaint is filed.



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with the jury. Muldoon had an allegation of sexual assault brought to Teton County for

investigation, and the allegation was not prosecuted and definitively proven to be false.

        One might think that Plaintiffs would be satisfied with their exoneration. One might think

that the justice system has worked: three wrongfully accused individuals were found innocent or

otherwise prevailed against their alleged crimes. But the process of serving “justice” in Teton

County is such that the process the accused must go through as alleged sexual assault perpetrators

is nearly as harmful as the consequences of being found guilty. It’s a no-win situation.

        A significant piece of Teton County’s patterns and practices at issue in this case—of which

there are many—is the illegal abuse of confidential information relating to the identity of alleged

sexual assault perpetrators. It is well known, particularly in today’s society, that merely being

accused of committing a sex crime carries severe reputational consequences—whether the accused

is found innocent or not. For this reason, many states, including Wyoming, have laws that protect

both the public identity of the alleged sexual assault victim and the alleged perpetrator—at least

until a minimal showing of legitimacy of the claim has been demonstrated. Individuals also have

various constitutional rights related to this issue, including their right to a fair trial, right to be free

from malicious prosecution, the right to be free from unlawful search and seizure, the right to equal

protection, right to free speech, and the right of due process.

        In the course of violating the Plaintiffs’ constitutional rights and committing other civil

wrongs, Teton County, along with many of its employees, repeatedly violated these laws relating

to the accused. Teton County did so to all three Plaintiffs to serve Teton County’s own interests.

        Doe. For Doe, Teton County took illegal action by filing improperly redacted documents

in court that were more than sufficient to identify him as the alleged perpetrator of sexual assault

crimes. Numerous newspaper articles followed, both before and after the probable cause hearing,

that ruined Doe’s reputation and prejudiced his ability to fight in court if needed. This was, of

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course, a pattern of Teton County using public pressure in its favor. Fortunately, Doe’s defense

team was able to discover exculpatory evidence that compelled Teton County to dismiss the

charges. Doe’s defense team located a “hook up list” or “sex list” on one of the accuser’s phones

where she kept track of all the men she had sex with, and her description of her experience with

Doe was that of consensual sex. In the other case, two eyewitnesses told Doe’s investigator that

the accuser was the sexual aggressor that night. One eyewitness signed an affidavit attesting to that

fact, and the other eyewitness provided videos that supported their recollections. Moreover, it came

out that one of the deputies with the Teton County Sheriff’s Office was sexting with the alleged

star witness for the prosecution. Doe’s cases were eventually dropped, but not before Teton County

and other defendants violated Doe’s constitutional rights and committed other civil wrongs—

creating significant harm to Doe’s reputation and causing other injuries.

       Crothers. For Crothers, contrary to the law, and similar to the treatment of Doe, Teton

County provided identifying information about Crothers though the sexual battery charge

remained in the circuit court. Teton County repeatedly violated a Wyoming non-disclosure statute

by failing to redact court documents to protect Crothers’ identity and by making various public

statements to the media that fully identified Crothers. This resulted in numerous inflammatory

newspaper articles that harmed Crothers’ reputation and tainted the jury pool. The jury ultimately

exonerated Crothers on the sexual battery charge but, like Doe, not before Teton County and the

other defendants violated Crothers’ constitutional rights and committed other civil wrongs—again,

creating significant reputational harm and causing other injuries.

       Muldoon. Finally, for Muldoon, Teton County and other defendants used the same

playbook as they did against Doe and Crothers, and caused the same type of harm, but for different

benefits to Teton County and law enforcement. Muldoon, the former mayor of Jackson, Wyoming

was publicly critical of law enforcement, and law enforcement saw him as a threat to their power

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and funding. Teton County law enforcement was also aware of allegations of sexual assault against

Muldoon, which were so weak that law enforcement had decided not to pursue charges. Indeed,

an investigation by the Wyoming Department of Criminal Investigation—the unit responsible for

investigations into public officials—definitively concluded that the allegations against Muldoon

were false. But again, in violation of various laws, Teton County illegally released documents to

the public detailing the sexual assault allegations, which they knew to be false, just weeks before

election day for Muldoon—to stop what they viewed as a threat to Teton County law enforcement.

Unsurprisingly, Muldoon lost the election he was favored to win, and like Doe and Crothers,

Muldoon suffered significant reputational harm and other injuries.

       This lawsuit seeks to recover damages for the harm caused by Teton County and the other

defendants and put an end to the pattern and practices of Teton County and various of its employees

that are in violation of the U.S. Constitution and Wyoming law.

                                         II.     PARTIES

       1.       Plaintiff John Doe is a natural person who resided, during the relevant facts at issue,

in Jackson, Wyoming.

       2.       Plaintiff William Michael “Mike” Crothers is a natural person who resides in

Colorado. During the actions that led to this Complaint, Crothers resided in Jackson, Wyoming.

       3.       Plaintiff Peter “Pete” Muldoon is a natural person who resides in Jackson,

Wyoming.

       4.       Defendant Teton County is a governmental entity formed in and existing within the

State of Wyoming, and at all times relevant to this Complaint, Defendant Teton County may have

employed certain Sheriff’s Deputies and Prosecutors who are the subject of this Complaint. Teton

County Sherriff’s Office (“TCSO”) is a subdivision and/or department of Defendant Teton County

and employed certain officers who are referred to in this Complaint. Teton County and Prosecuting

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Attorney’s Office (“TCPA”) is a subdivision and/or department of Defendant Teton County and

employed certain attorneys and prosecutors who are referred to in this Complaint.

       5.       Defendant Matt Carr is now, and at all times relevant to this Complaint, the Sheriff

of the TCSO in the State of Wyoming. He is sued in his individual and official capacity as Teton

County Sheriff. He is the County’s final policymaker with regard to law enforcement, including

training and supervision, and investigation.

       6.       Defendant Erin E. Weisman is now, and all times relevant to this Complaint, the

Teton County and Prosecuting Attorney of the TCPA in the State of Wyoming. She is sued in her

individual and official capacity as Teton County and Prosecuting Attorney. She is the County’s

final policymaker with regard to prosecution-related decisions, prosecution-related investigations,

and the training and supervision of prosecutors.

       7.       Defendant Breton Bommer is a natural person who resides at 445 Roberts–Wolfley

Road, Etna, Wyoming 83118. Defendant Bommer, at all times mentioned in this Complaint, was

a deputy sheriff employed by Defendant Teton County.

       8.       Defendant David Hodges is a natural person who resides at 794 Wind River Lane,

Jackson, Wyoming 83001. Defendant Hodges, at all times mentioned in this Complaint, was a

deputy sheriff employed by Defendant Teton County.

       9.       Defendant Clayton Platt is a natural person who resides at 315 Blair Drive,

Apartment B., Jackson, Wyoming 83001. Defendant Platt, at all times mentioned in this

Complaint, was a deputy sheriff employed by Defendant Teton County.

       10.      Defendant Andrew Roundy is a natural person who resides at 119 Saddle Drive,

Etna, Wyoming 83118. Defendant Roundy, at all times mentioned in this complaint, was a deputy

sheriff employed by Defendant Teton County.




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       11.     Defendant Clark Allan is a natural person who has resided at 3045 East Wild Horse

Drive, Jackson, Wyoming 83001. Defendant Allan, at all times mentioned in this Complaint, was

a deputy prosecutor employed by Defendant Teton County.

       12.     Defendants RICHARD ROES, at all times mentioned in this Complaint, were

employees of Teton County.

       13.     Except as expressly stated in relation to the negligence per se and intentional

infliction of emotional distress causes of action, Individual Defendants’ actions, as described in

this Complaint, were under color of law and within the scope of their duties. Other than Weisman

and Carr, all causes of action against Individual Defendants are brought against them in their

individual or personal capacity.

                             III.    JURISDICTION AND VENUE

       14.     Pursuant to 28 U.S.C. § 1343, the Court has subject matter jurisdiction over the

claims asserted by Plaintiffs under 42 U.S.C. § 1983.

       15.     Pursuant to 28 U.S.C. § 1367, the Court has supplemental jurisdiction over all state

court causes of action pleaded here because they arise from a common nucleus of operative facts

that give rise to the federally based causes of action.

       16.     Pursuant to 28 U.S.C. § 1391, venue is proper in the District of Wyoming because

a substantial part of the underlying events giving rise to the claims took place in the District of

Wyoming, in Teton County, Wyoming. Further, upon information and belief, the Individual

Defendants all reside in the District of Wyoming.

       17.     Pursuant to Federal Rule of Civil Procedure 20, joinder is proper because Plaintiffs

assert rights, jointly and severally, that arise out of the same series of transactions or occurrences

and because Plaintiffs’ claims involve common questions of law and fact. The events and

circumstances that give rise to Plaintiffs’ claims are all logically related. Although the dates and

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names may vary, Plaintiffs’ allegations all involve a common pattern or practice among Teton

County and its employees to exert public pressure and take other illegal actions to prejudice and

harm individuals wrongly accused of perpetrating a sexual assault-related crime, resulting in the

deprivation of those individuals’ constitutional rights, along with other civil wrongs.

       18.     By reason of the foregoing, the Court has jurisdiction and venue over this action.

                         IV.     GOVERNMENTAL CLAIMS FILING

       19.     Teton County is a local governmental entity in Wyoming. On February 10, 2022,

Plaintiffs timely provided notice by certified mail, return receipt requested, of their governmental

claims under WY Stat. § 1-39-113 to the Clerk to the Teton County Board of County

Commissioners. Plaintiffs have complied with the statutory requirements of WY Stat. § 1-39-113

and with all pertinent constitutional requirements, including the signature and certification

requirements contained in Article 16, § 7 of the Wyoming Constitution. No action has been made

on the claims. A copy of the claims is attached hereto and incorporated herein by reference as

Exhibit 1.

                               V.      JURY TRIAL DEMANDED

       20.     Plaintiffs demand a trial by jury on each of the causes of action pleaded in this

Complaint.

                               VI.     FACTUAL BACKGROUND

       21.     This case is about Teton County, Wyoming—including the Teton County Sherriff’s

Office and the Teton County and Prosecuting Attorney’s Office—and various Teton County

employees’ persistent pattern or practice of violating Plaintiffs’ rights and tortious conduct against

Plaintiffs. Defendants’ wrongdoing here is especially heinous because they are public officials

entrusted with the responsibility of protecting and serving the public, not destroying and harming

citizens. Plaintiffs are certain that they are not the only ones to have suffered at the hands of Teton

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County. This persistent pattern of misconduct is why Plaintiffs are seeking to hold Defendants

accountable. Indeed, upon information and belief, Teton County has been forced to make changes

to its personnel and/or policies in light of certain issues raised in this Complaint—but more

changes are needed. These are the Plaintiffs’ stories.

A.     John Doe (“Doe”)

       22.     On December 9, 2019, ten days after Doe turned 18, TCSO Deputies and TCPA

prosecutor Clark Allan (“Allan”) arrested and charged high school senior John Doe with two

counts of first-degree sexual assault related to allegations reported by two accusers who acted in

concert. By May 2020, the TCPA and Allan had dismissed both charges against Doe, but not before

TCSO deputies and TCPA prosecutors tortiously and intentionally ruined Doe’s reputation and

future and violated his constitutional rights.

       23.     Both accusers were close friends of Doe’s ex-girlfriend. Doe’s attorneys uncovered

texts on the accusers’ phones that indicated coordination among the friends. Doe had consensual

sexual relations with both accusers, one in March 2018 and the other in March 2019. The accusers

claimed rape within days of each other in September 2019 to their respective college campus law

enforcement. TCSO Deputy Breton Bommer (“Bommer”) interviewed one accuser, known as IU,

on September 27, 2019. IU reported that the alleged crime occurred in March 2019 when Doe was

a minor (17) and high school junior, and IU was an adult and a high school senior. IU and Doe had

subsequent consensual sex at least two times after the alleged rape. IU waited six months to report

the allegation. TSCO Deputies David Hodges (“Hodges”) and Clayton Platt (“Platt”) interviewed

the other accuser, known as MR, on October 28, 2019. MR reported that the alleged crime occurred

in March 2018 when Doe was a minor (16) and a high school sophomore, and MR was a high

school junior. MR and Doe had a prior sexual relationship before the alleged rape and had

subsequent sex after the alleged rape. MR waited eighteen months to report the allegation.

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According to the TCSO and TCPA, no recording or transcript of Hodges’ and Platt’s interview

with MR exists.

       i.       Teton County arrested, charged, and prosecuted Doe without conducting a proper
                investigation into the accusations against him.

       24.      Without conducting any investigation into IU’s and MR’s accusations, interviewing

any of the eyewitnesses IU and MR identified, or speaking with Doe, Teton County arrested Doe

on December 9, 2019, and charged him with two counts of first-degree sexual assault related to

accusations that were six months old and eighteen months old. Teton County purposely waited

until December 9, 2019, to arrest and charge Doe as an adult since Doe had turned 18 years old in

late-November 2019. By delaying filing charges until Doe was an adult, Teton County was also

able to arrest and interrogate Doe without notifying his parents. Barely 18, Doe spent three nights

in jail without the opportunity for bail. Additionally, Teton County has indicated that if Doe was

17 when he was arrested, the news of his arrest would not have been made public in the paper.

Teton County wanted to arrest Doe after he turned 18 to deny him access to the juvenile court

system. Teton County has argued in court documents that they believe it is the age at the time of

arrest that determines concurrent jurisdiction with Wyoming juvenile courts. In fact, certain

Individual Defendants have admitted in recorded interviews that they intentionally waited until

Doe turned 18 to arrest and charge him.

       25.      The investigation, or lack of investigation, was coordinated between the TCSO and

TCPA divisions of Teton County. Bommer recognized the TCSO and TCPA’s coordination in his

September 27, 2019 interview with IU, explaining to IU, “And I—give me—give me some time

as far as the case goes, and what I can prove and what I can’t prove. My office is just below the

County Attorney’s …. So I [will just] go upstairs. And I will talk to them and say, you know,

‘What do you think we need to prove this?’ … I think I’ve got—I’ve [got] probable cause now to



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arrest him. The difference being if I go arrest him now, then he doesn’t have to talk to me [because

Doe was still then a juvenile].” Bommer was even more explicit in his December 10, 2019,

interview with IU the day after Doe’s arrest, telling IU that “[w]e did wait until he was over 18, so

we could charge him as an adult.” Teton County did not wait to charge Doe in order to conduct a

thorough investigation; rather, they purposefully waited until Doe was 18 to arrest and charge him

as an adult. As a result of waiting until Doe was 18 years old, Teton County deprived Doe of the

protections afforded to juvenile criminal defendants under the Wyoming Juvenile Justice Act (WY

Stat. §§ 14-6-201 et. seq.), and committed a due process violation by intentionally delaying

bringing charges against Doe to gain a tactical advantage.

       26.     After Doe’s arrest, and still without having conducted any investigation into the

charges against Doe or interviewing any of the known eyewitnesses, TCPA prosecutor Allan

argued at the initial appearance that Doe should only be released from custody on $250,000 bond,

with a requirement of house arrest and GPS ankle monitor, and not be allowed to return to high

school and complete his senior year because he was a danger to the community. The circuit court

granted Allan’s request with a reduced bail amount, forced Doe to be under house arrest with an

ankle monitor, and forbade him from leaving his home and attending high school. There was no

valid basis for Allan requesting such excessive bail for stale allegations alleged to have occurred

when Doe was a juvenile. Doe had never been in trouble with the law and had no prior criminal

record. These excessive bail requirements unduly deprived Doe of his freedom and his education.

       27.     Following Doe’s arrest, Doe’s defense team was quickly able to unearth

exculpatory evidence that Teton County should have uncovered and, in fact, had in their possession

before arresting Doe, and would have discovered with even a cursory investigation into the

accusations.




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       28.     Related to MR’s accusations, unlike Teton County, Doe’s defense team interviewed

the two eyewitnesses whom MR had identified when she made her accusations to her campus law

enforcement in September 2019, and to Teton County in October 2019. These eyewitnesses

categorically denied MR’s version of events. One of the eyewitnesses had videos of the night in

question showing that MR was the sexual aggressor, and the other eyewitness provided an affidavit

detailing how MR’s version of events could not have occurred. Despite knowing about these

eyewitnesses in September 2019 while Doe was still a juvenile, Teton County did not interview

these two eyewitnesses until February 13, 2020 and February 17, 2020, five months after MR made

her accusations and two months after Teton County arrested and charged Doe. Finally, on March

6, 2020, after news of the arrest and rape allegations had been leaked to the press and six articles

had been published in the local newspaper, Teton County filed to dismiss the case against Doe

related to MR’s accusations.

       29.     Related to IU’s accusations, Teton County never interviewed either of the only

witnesses, RC and KC, that IU identified in her initial interview with Bommer in September 2019.

Further, Teton County did not collect IU’s cell phone data until March 2020, more than five months

after her initial interview with Bommer in September 2019, which would have confirmed or denied

whether IU was texting RC in distress on the night in question, as IU claimed. Upon information

and belief, TCSO deputies and TCPA prosecutors did not review IU’s cell phone data even after

it was collected. Five weeks later, in April 2020, TCPA turned over IU’s cell phone data to Doe’s

defense team. In three days’ time, Doe’s defense team identified that IU created a “hook up” list

in the notes of her phone one month prior to alleging that Doe assaulted her. In this note, IU listed

13 consensual sex partners and detailed information about each hook up; included in this list was

Doe. IU said this about Doe: “[Doe] - best friends ex, went three rounds, have hooked up 3

different times, once in a sauna with people in the hot tub, once in a hot tub, and once in his room,

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also he was my best guy friend.” The “hook up” with Doe “once in his room” was the March 2019

incident IU reported as a rape. IU was not forthcoming to Teton County about the two other hook

ups with Doe that she described in her list. Both of the other hook ups with Doe occurred

subsequent to the incident IU reported as an assault, and IU did not disclose these two events to

Teton County until TCSO deputies confronted her. After Doe’s defense shared the exculpatory

evidence with Teton County in April 2020, and after news of the arrest and rape allegations were

leaked to the press and nine articles had been published in the local newspaper, Teton County filed

to dismiss the charges against Doe related to IU’s accusations in May 2020.

       30.     Cursory investigations into MR’s and IU’s accusations would have shown Teton

County that there was no probable cause for arresting and charging Doe. By the time Teton County

realized there was no evidence (other than the accusers’ controverted statements) to support the

charges, they had already deprived Doe of his rights and permanently damaged Doe’s reputation—

even though they had a duty under the law, which they violated, to protect the reputation of both

the alleged sexual assault victim and alleged actor. Upon information and belief, Teton County’s

failure to investigate and other improper and illegal actions were intentional and purposeful, as

shown by the pattern illustrated in this Complaint.

       ii.     TCPA Prosecutor Allan made numerous false statements about Doe’s character
               and violated Doe’s right to not be identified as a suspect in a sexual assault case
               prior to being charged in the district court.

       31.     TCPA prosecutor Allan’s lack of investigation into the charges he was bringing

against Doe did not stop him from making public comments demeaning Doe and illegally

identifying Doe as a suspect in a sexual assault case. Upon information and belief, TCPA and

Allan were intentionally making such statements to put pressure on Doe, with the help of the

media, to plead guilty to the allegations. Doe has proof of and learned about the improper

coordination of Teton County with the media through public record requests served after his cases

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were dismissed. Upon information and belief, Teton County and Allan intentionally made

statements for the media, which they knew not to be true or were made recklessly, for the purpose

of forcing Doe to plead guilty or otherwise not challenge the case. TCPA and Allan made

statements to and for the media that were outside the scope of their duties as prosecutors. Upon

information and belief, TCPA and Allan purposefully used the media to put pressure on Doe to

plea and/or taint the small jury pool in Teton County. Plaintiffs have learned that this is a tactic

the TCPA and Allan regularly and improperly use.

        32.     Allan’s illegal public flogging of Doe started immediately. Under Wyoming Statute

§ 6-2-319, “[p]rior to the filing of an information or indictment in district court charging a violation

of an offense under this article, neither the names of the alleged actor or the victim of the charged

offense nor any other information reasonably likely to disclose the identities of the parties

shall be released or negligently allowed to be released to the public by any public employee

except as authorized by the judge with jurisdiction over the criminal charges.” (emphasis added).

Flouting this law, Allan intentionally filed a document with the lower circuit court, which had

enough information for Doe to be identified as the alleged actor in violation of Section 6-2-319.

The initial charging documents Allan filed with the circuit court identified Doe with his full initials,

his full middle name and last initial, included Doe’s entire residential address, Doe’s age at the

time of the alleged assault, the name of the nearby club that Doe’s parents were members of, and

that Doe had a younger brother. The amount of information illegally provided was more than

enough to reasonably likely disclose that the alleged actor was Doe. In fact, Doe was the only

individual in the world that fit all aspects of Allan’s description. Doe’s middle name is the primary

name he has always used, and Allen left Doe’s entire residential address in both redacted

information. These reckless errors on the part of Teton County resulted in significant local media




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coverage of the accusations. Thereafter, word quickly spread throughout the community that Doe

had been charged with rape.

       33.     Having outed Doe in every way possible except disclosing his last name, and

without having investigated the charges against Doe, Allan went on to say that Doe was a “danger

to the community and that there is a lot of risk having him outside and not incarcerated.” But Allan

and Teton County left Doe “outside and not incarcerated” and free to attend high school between

September 2019, when MR and IU reported that they were assaulted (and Doe was still a juvenile),

and December 2019 when, shortly after Doe turned 18, he was arrested and charged. Allan and

Teton County did not seek to speak with Doe or interview any known eyewitnesses between

September 2019 and December 2019. Allan and Teton County intentionally delayed bringing

charges against Doe until he turned 18 to gain a tactical advantage, specifically to deprive Doe of

the protections afforded to juvenile defendants under the Wyoming Juvenile Justice Act.

       34.     In January 2020, still without having investigated the charges or interviewing any

of the known witnesses, Allan said that TCPA had “strong cases” against Doe, implying that it

was likely Doe was guilty of rape.

       35.     On February 13, 2020, still before Allan had investigated the charges against Doe,

interviewed any of the known eyewitnesses, or read Doe’s TCSO interview transcript, Allan

argued in court that the State’s case against Doe was “strong” because Doe made “a full and

complete confession to one of the counts and admitted to every element of the count before the

court.” But nothing could be further from the truth: Doe made no confession. Allan did not seek

to correct this error in court documents.

       36.     Allan went on to say that “what we see is predatory behavior. We see grooming

and preparation for these events and events that were unfulfilled.” There was no predatory

behavior. There were no events unfulfilled. Allan also argued that allowing Doe to attend a new

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high school so that he could graduate on time and attend college would be “putting the shark into

a pool of innocent fish.” Doe was not a shark in a pool of innocent fish. He was a teenager who

was falsely accused of rape.

       37.     Allan was all too aware the media was covering the case, and upon information and

belief, Allan purposely made the statements for the media to use, as it ultimately did. Allan’s

statements were false, unfounded, and tortious. And Teton County did not have strong cases—

Teton County was compelled to dismiss both cases in a matter of weeks after Allan’s statements.

Upon information and belief, Allan did not read the transcript or watch the interview where Doe

allegedly made what Allan called the “full and complete confession to one of the counts and

admitted to every element of the count before the court”—even though Allan had the transcript. In

fact, Allan’s office provided Doe’s attorneys with Doe’s TCSO interview transcript on January 17,

2020, four weeks before this February 13, 2020 hearing.

       38.     The following day, consistent with Allan’s intent to injure Doe’s reputation, the

front page of the local newspaper carried a headline above Doe’s mug shot touting Doe’s alleged

confession, “Prosecutor: Suspect confessed to rape.” This was no coincidence. Based on emails

Plaintiffs have uncovered that show Teton County coordinating with the media, upon information

and belief, Allan’s statements were specifically made for the media to print a false and misleading

headline.

       39.     Only after Allan’s words above were published in local newspapers and after Doe’s

reputation suffered immense harm did Allan begin to investigate the accusations, which ultimately

compelled Teton County to dismiss both cases against Doe.




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         iii.     Doe’s defense team’s investigation uncovers other likely crimes that Teton County
                  covered up and failed to investigate.

         40.      Doe’s defense team, during its investigation of the charges against Doe, uncovered

two other possible crimes that Teton County failed to investigate or prosecute; these cases involved

friends of certain Teton County employees.

         41.      First, in the IU case, Allan alleged that one of Teton County’s “critical witnesses”

was a Jackson Hole High School student named RC.2 Though the defense is unsure what evidence

RC could have provided related to IU’s case, the defense team investigated RC to make sure that

it understood all the facts. Nobody on the defense team expected what they uncovered.

         42.      One of the TCSO deputies had been exchanging sexually explicit text messages

with Allan’s “critical witness,” RC.3 The following is an excerpt of a conversation:

                  RC: Are you a cop?

                  TCSO Deputy: Yes maam

                  TCSO Deputy: How do you feel about cum in you

                  RC: I mean I’d rather swallow it

                  TCSO Deputy: God bless you. But if I wanted to fill you up at some
                  point you’d be cool with it?

                  RC: Yeah haha that’s what I got on birth control for.

         43.      Teton County’s attempt to use a high school student with whom a TCSO deputy

was exchanging sexually explicit messages as a “critical witness” in Teton County’s case against

Doe is unethical (if not illegal) and violative of Doe’s due process rights. Doe’s defense team



2
  Although Plaintiffs do not necessarily believe initials must be used in every circumstance in this complaint, the
Plaintiffs are using the initials in an abundance of caution relating to individuals who were minors or potentially are
minors. Although IU was not a minor at the time of the alleged event, Plaintiffs are using her initials to identify her.
3
  Plaintiffs have likewise publicly withheld the identity of the TCSO deputy exchanging the sexually explicit text
messages with Allan’s “critical witness.”



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raised this shockingly improper conduct with TCSO and TCPA, but neither department responded.

Upon information and belief, neither TCSO nor TCPA did anything to address the issue involving

the sexually explicit text messages by a TCSO Deputy with a State’s witness and a high school

student.

           44.       Second, while examining the phone extraction of one of Doe’s accusers,4 Doe’s

attorneys discovered a troubling, detailed description of how that accuser had apparently been

repeatedly assaulted by a PE teacher/coach at Jackson Hole High School:




4
    Out of an abundance of caution, Plaintiffs have not disclosed the specific identity of this individual.



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       45.     Doe’s attorneys immediately provided this information to Teton County, in the

hopes that what appears to be an awful crime would be investigated. After turning the information

over to Teton County, the Doe defense team’s investigator confronted Bommer in May 2020,

asking him if the TCSO planned to investigate the PE teacher/coach rape described in the accuser’s

phone. Bommer told the investigator that he knew the only two individuals that the accuser could

be describing, and that “I [Bommer] just don’t see it.” Upon information and belief, Teton County

has not investigated the potential high school PE teacher/coach rapist. Upon information and

belief, members of the TCSO and/or TCPA intentionally chose not to investigate this sexual

assault—which had a significantly stronger basis in evidence than either case against Doe—

because of a friendly relationship between members of the TCSO and/or TCPA and the alleged

PE teacher/coach at issue. On the other hand, Teton County had no problem charging Doe with

multiple crimes based on far less credible “evidence” from the accuser and intentionally smearing

Doe’s reputation in the media, without conducting any legitimate investigation.

       46.     Upon information and belief, Teton County refused to investigate the potential rape

of a student by a PE teacher/coach at Jackson Hole High School because of a personal relationship

Teton County authorities had with the alleged actor. Upon information and belief, Bommer has

been involved with the football program at Jackson Hole High School, and Bommer’s wife is

currently a track coach at Jackson Hole High School.

       47.     In light of TCSO’s and TCPA’s unwillingness to even investigate Doe’s accuser’s

accusations against the PE teacher/coach, it is unconscionable that Teton County arrested and

charged Doe with first-degree sexual assault, without conducting any legitimate investigation. It

is also indefensible that Teton County sought to leverage RC as a teenage witness when one of its

TCSO deputies was having inappropriate sexual conversations with RC and may have even been

in a sexual relationship with RC.

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       iv.     Teton County falsified records and executed perjurious affidavits to harass Doe.

       48.     On information and belief, during the prosecution of Doe, employees of Teton

County falsified records and executed perjurious affidavits to enhance Teton County’s case.

       49.     First, TSCO Deputy Hodges, upon information and belief, falsified a record and

made a false statement used against Doe. On December 3, 2019, Hodges executed a probable cause

affidavit that led to the arrest of Doe for first-degree sexual assault of MR. The affidavit detailed

Deputies Hodges’ and Platt’s interview of MR on October 28, 2019. Included in Hodges’ affidavit

was that MR accused Doe of rape in March 2018. This is the only accused crime in Hodges’

original affidavit. According to the TCSO and TCPA, no recording or transcript of Hodges’ and

Platt’s October 28, 2019, interview with MR exists.

       50.     Then, after Doe was arrested on December 9, 2019, and told TCSO deputies that

he had had consensual sex with the accusers multiple times, including after the accused crimes,

Hodges filed a supplemental report on December 20, 2019, in which he stated that MR told him at

the October 28, 2019, interview that Doe had raped her a second time after the March 2018

occurrence. Upon information and belief, the TCSO did not interview MR subsequent to October

28, 2019. Upon information and belief, MR never told Hodges that Doe raped her a second time.

Hodges made the false statement in the supplemental report to undermine the exculpatory evidence

that Doe provided to the TCSO after he was arrested, and to help construct the false narrative that

Doe was a danger to the community. Hodges’ supplemental report caused Doe to remain under

house arrest and wear a GPS ankle monitor, under supervision of the State, and unable to freely

attend high school before the cases against Doe were dismissed.

       51.     Second, desperate to find any evidence against Doe in April 2020, Teton County,

upon information and belief, filed a perjurious search warrant affidavit to obtain a warrant to search

Doe’s house. Doe has learned, incidentally, that Allan was intimately involved with the

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investigation of Doe and even had weekly meetings with TSCO deputies investigating the matter.

When Teton County employees searched Doe’s home, they exceeded the bounds of the search

warrant and searched and photographed areas of the home that were not permitted to be searched

by the warrant. Nonetheless, they found no evidence against Doe, and the IU case was dismissed

shortly thereafter but before a Franks hearing could be scheduled.

       52.     Third, upon information and belief, Teton County knowingly relied on manipulated

evidence to bolster the false narrative against Doe. On December 12, 2019, IU emailed Bommer

ten screenshots of a text conversation she had with RC the night IU claimed she was assaulted.

During IU’s first interview with the TCSO in September 2019, IU told Bommer that she had

desperately texted RC to pick her up from Doe’s house the night of the alleged assault. But IU

only expressed a desire to leave in one of the ten screenshots she provided Bommer, asking RC,

“is it too late to come back to me?” This text is not related to the night of the alleged offense. This

one screenshot is easily recognized as out of sequence and from another day and time since the

timestamp changes from 9:21 PM to 1:14 PM and then back to 9:21 PM from one screenshot to

the next. IU even admitted to Bommer by text that the deceitful screenshot was from a different

day and time. Despite the warning from IU, Bommer continued to use the manipulated false

evidence, ostensibly because it was the only screenshot consistent with IU’s story. Teton County

appears to have relied on this purported evidence as late as April 15, 2020. Indeed, the purported

evidence was included in the last batch of discovery Doe received shortly before Teton County

was compelled to dismiss IU’s case.




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       v.     Teton County Deputy Bommer and others within Teton County set out to harm Doe
              throughout the County by making baseless statements.

       53.    In their quest to find evidence against Doe in 2020, after Teton County had arrested

and charged Doe, TCSO deputies intentionally prejudiced Doe to members of the community. For

example, TCSO Deputy Bommer told high school students that he interviewed the following:

              “No. That’s fine. Because I… You know, people… I’m finding that
              people see a different side to [Doe], and it’s with everybody. I mean,
              look at Jeffrey Dahmer. If you don’t know who Jeffrey Dahmer is,
              look him up, but he’s a serial, you know, killer, and people didn’t
              see that side of him, which is why he got away with so much, so…”

              “Nothing that seemed creepy or weird. Okay. Any – and then we’ll
              wrap it up – but any references ever to pornography or about having
              pictures of other girls maybe naked or scantily clothed [on the
              defendant’s phone]?”

              “Um…and he ended up dying in prison [another individual found
              guilty of several sex assaults], so… I’m not saying that’s what’s
              going to happen to [Doe], but certainly, this needs to end because
              this isn’t right.”

              “…I…in my world, we would classify him as a predator.”

              “He’s -- I think he needs help. Mentally.”

              “Whether there’s three, four, 10, 100 [victims]…we don’t know.
              Um…but we’ll just deal with them each at a time.”

              “Do you think he’s ever been drunk in school?”

              “You know? Um...do you think he’s done anything other than
              alcohol? Marijuana? Any other hard-core...harder core drugs?”

              “Uh…I will talk to Detective Hodges as well. I’ll see him tomorrow
              again, and I’ll just let him know that we’ve had this discussion,
              and…um…I guess the good news is, is that you aren’t a victim of
              anything…. And…uh…we were… I know this sounds weird, but we
              were kind of hoping that you were [a victim] because that was one
              more nail in [Doe]’s coffin.”

       54.    Deputy Bommer’s biased statement that he hoped a female high school student was

a victim so that they could be “one more nail in [Doe]’s coffin” demonstrates how the charges


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against Doe were a miscarriage of justice by Teton County. The charges Teton County brought

against Doe were not about seeking justice for alleged victims; they were about needlessly

targeting a high school boy and doing whatever they could to get a conviction, regardless of the

facts. Upon information and belief, Teton County had predetermined Doe’s guilt and did not

conduct a thorough investigation. Only when faced with clear and overwhelming evidence, which

they initially brazenly ignored, showing Doe was not guilty of the alleged crimes, did Allan and

Teton County dismiss the charges against Doe. But the damage had already been done.

       55.       Teton County’s conduct and false statements unnecessarily led to numerous front-

page articles in the local newspaper, available for anyone to see online to this day, that have

permanently branded Doe as a rapist and predator—despite having evidence so weak that Teton

County was later compelled to drop both cases.

       56.       Because Doe was prevented from attending high school and completing his senior

year due to the Defendants’ actions, he was forced to decline his acceptance into five colleges, as

he lacked the requisite high school diploma. This has also negatively impacted Doe’s attempts to

find employment.

       57.       In arresting, charging, and prosecuting these baseless claims against Doe, County

Sheriff Carr, County Attorney Weisman, Teton County, and their various employees, deprived

Doe of his constitutional rights, violated statutes meant to protect him, demeaned him, caused him

immense emotional distress, and have forever impaired his future. Even lately, as Doe has applied

for jobs and had interviews, the false allegations have been raised in interviews, and because of

those false allegations, Doe has had difficulty securing employment. These same false allegations

have affected Doe’s ability to apply to colleges, obtain housing, and form meaningful

relationships.




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B.      William “Mike” Michael Crothers (“Crothers”)

        58.      Mike Crothers and his wife were 14-year residents of Teton County where they had

raised their children from the ages of 3 and 5. While still in his thirties, Crothers was a self-made

success in business, ultimately building a home in Jackson and settling into an independent life

with his family. The couple became full-time members of the community and gave of their time,

energy, and money. Crothers invested in local, small businesses and mentored the founding

entrepreneurs, not for the potential return but because of what he felt was his obligation to guide a

younger generation of businesspeople and to support the proliferation of enterprises that supported

the local community. Crothers’ friends describe him as gregarious, generous in spirit, friendly, and

approachable.

        59.      Crothers and his wife opened their home to the community, throwing events for

their children’s school and for their friends and family. Their home was full of play dates and

sleepovers. As their children grew, it went from play dates to groups of teenagers spending the day

at the Crothers’ home, riding bikes to and from the river, and enjoying the Crothers’ welcoming

home. Whenever friends came over, even as last-minute guests, there was always room for another

plate at the dinner table.

        i.       The Party that Happened Unbeknownst to Crothers

        60.      On May 11, 2019, Mrs. Crothers was out of town on business, leaving Mike

Crothers and their teenage children behind in Jackson Hole. Crothers went to an early dinner alone

in his neighborhood at a restaurant one mile from his home expecting he would return home to his

teenagers and a quiet home. While at dinner, Crothers ran into friends who invited him to join

them at a long-running, local fundraiser supporting women’s health. It was an established

fundraiser that raised a record amount in 2019, over $100,000 for breast cancer survivors and

awareness. While at the fundraiser, Crothers became inebriated and responsibly took a taxi home.

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While Crothers was at the fundraiser, unbeknownst to him, his teenage son, who was in his junior

year of high school, had invited friends over. News spreads quickly in the small town and, through

electronic means, like the ability to geo-locate each other through Snapchat, the gathering at his

home had grown to include other junior and senior high students as well as former students who

had aged into legal adults. Several of the attendees brought alcohol and marijuana.5 An impromptu

party had formed. All of this was happening unbeknownst to Crothers, and he was unaware of the

scene he was about to stumble into.

        61.      Later that evening, Crothers unknowingly walked into a party at his home already

in progress that he had not approved and did not condone. Crothers expected to be walking home

to a quiet house; otherwise, he would have returned earlier in the evening and in a better capacity

to deal with what had organically become a relatively large gathering.

        62.      The party attendees were initially alarmed when Crothers’ taxi pulled into the

driveway as they knew they had been caught. Many of the party attendees knew from past

experiences that Crothers would not tolerate this type of behavior in his home. However, the

attendees soon learned that Crothers was too inebriated to control the situation, so they continued

to illegally drink and party in the Crothers’ home. Some thought Crothers’ disposition was funny

and cheered him on to stay with them.

        63.      Most of the party attendees knew the Crothers family well and had grown up

socializing in the Crothers home. Their parents socialized with the Crothers regularly and, in some

cases, the families had traveled together. For the majority of the attendees, the Crothers were not

unknown outsiders. This was a family of community members who knew each other well, skied



5
  There is significant alcohol use among teenagers in Jackson Hole. Upon information and belief, Teton County has a
high percentage of teenagers involved in the criminal justice system for underaged drinking and drug use, as compared
to other areas. Moreover, upon information and belief, Wyoming has one of the highest rates of teenage prosecution
and incarceration in the country.


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together, ate together, socialized together, and were comfortable in each other’s presence. Even

after the illegal prosecution of Crothers began, many of the attendees continued to come to the

Crothers house, visiting the family. Moreover, many of their parents continued to socialize with

Mr. and Mrs. Crothers.

       64.     Based on his recollection and other eyewitness accounts, Crothers was friendly,

jovial, patted backs, gave hugs, and tried to carry on small talk that evening—much like he always

did. He walked through the crowded house, from the garage, through the main area of the home

and to his bedroom, all in wide-open areas and in the presence of dozens of people. His presence

at the event lasted less than one hour. After Crothers retired, the majority of the teenagers remained

at the home, continued partying, and a good portion of them spent the night at the Crothers home.

The following morning, the party attendees who remained in the home socialized with each other

and went to breakfast together. Crothers had no interactions with the teenagers the following

morning.

       ii.     The Rumor Mill Begins at the High School

       65.     Although no issues were raised with the authorities on the night of the party, or

even the next morning, a gossip mill began churning at the high school. One of the party attendees,

KH, a teenage girl previously unknown to the Crothers family, began sharing stories with friends

about Crothers allegedly acting inappropriately at the party. She never left the party; in fact, the

opposite occurred. She stayed and slept with her boyfriend at Crothers’ house, and then had

breakfast with everyone the next morning. KH later admitted in her police interviews and in court

testimony that her memory was hazy because she was so intoxicated that evening. KH has admitted

that her mom did not even believe her allegations, and other attendees of the party said KH was

known in school for exaggerating accounts to gain attention. That evening, KH did not seek to call




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her mother to arrange a ride home; she did not seek to arrange for an Uber; and she did not ask

anyone for a ride home.

       66.     Nonetheless, KH began claiming she remembered that Crothers was inappropriate

with her at the party—even though her boyfriend, RT, whom she slept with that night, had a clear

memory of events that evening, was with KH during the relevant times, and later testified under

oath that he did not see Crothers act inappropriately towards his girlfriend. The rumor mill then

took hold. As additional false rumors began to circulate, the high schoolers started taking sides

and bullying each other. There was a “Crothers’ camp,” who knew he had done nothing wrong,

and there was a “KH camp,” which primarily consisted of her two best friends and one male friend.

It should be noted that one of these friends is the granddaughter of Foster Freiss, a powerful local

billionaire who recently was a Wyoming gubernatorial candidate. The mother of one of these two

friends is very close in friendship and business with Teton County and Prosecuting Attorney Erin

Weisman. And the mother of the other best friend is a freelance journalist who has worked with

the local and only newspaper in town, the Jackson Hole News & Guide. These two girlfriends of

KH admitted they did not personally see Crothers behave inappropriately with KH.

       67.     KH testified that she had “no memory” of an alleged kiss, which became a part of

the later allegations against Crothers. Only one of KH’s friends, WO, claimed to see anything

inappropriate, although even his sole account was riddled with inconsistencies. He claimed to

witness Crothers leaning over to kiss KH while KH was sitting on RT’s lap in the Crothers’ garage.

But RT testified that he did not witness Crothers kiss or touch KH while she was on his lap in the

garage, and no one else in the small, crowded room full of teenagers witnessed any kiss or other

physical interaction between Crothers and KH or anyone else. In a small, crowded room, it would

have been impossible to miss the one middle-aged man leaning over and kissing an unwilling

teenage girl while she was sitting on her boyfriend’s lap—particularly when the boyfriend never

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saw the alleged kiss or saw any reaction by KH that might suggest something inappropriate had

happened. Yet this was the allegation. WO too spent the evening at the Crothers’ home, socialized

the next morning and went to breakfast with the other teenagers.

       iii.    An Overzealous School Resource Officer, Andrew Roundy, Learns of the Rumors
               and Then Begins Secretly Interviewing Numerous Kids from the Party on Videotape
               Without Their Knowledge

       68.     After three days of bullying and rumors, with teenagers taking sides, switching

sides, and doing their best to appease, it came to the attention of Sheriff’s Deputy Andrew Roundy,

the in-school resource officer, that something had occurred at the Crothers’ residence, not at the

school. Nevertheless, Roundy was intrigued by the allegations of misconduct by a wealthy,

prominent businessman in the community.

       69.     Roundy immediately began interviewing teenagers rumored to have attended the

party. Roundy never notified any of the teenagers’ parents, never notified any of the teenagers of

their rights, never advised them that they could ultimately be part of a public trial, and never

notified them that he was secretly recording them with what appeared to be his bodycam that he

had laid beside him. Indeed, as Crothers later learned, on January 8, 2020, the Jackson High School

Principal Scott Crisp emailed Sheriff Carr to let him know that “I have me[t] with 3 different

families who have had ‘issue’ with how the SRO [Roundy] communicated with students about

[the Crothers] case.”

       70.     Roundy disregarded how the rumor mill may have affected any of their accounts,

how they compared stories with each other, influencing and polluting the accuracy of their stories,

and he never advised any of the teenagers that it was inappropriate to let any rumors of what they

had heard affect what they would say. Roundy also assured them, unnecessarily and falsely, that

whatever they said would have no consequences other than a potential fine for Crothers. Roundy

also failed to properly investigate how credible any of the teenagers’ memories may have been,

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given their use of alcohol and drugs at the party; rather, Roundy assured the kids that he did not

care about the illegal alcohol or drug use by the kids, even though the illegal drug use is a higher

degree crime under Wyoming law than what Crothers was initially charged with. Roundy had one

target: Crothers. And he led the teenagers right where he wanted them to go.

       71.     Notably, the police were not called the evening of the party and did not come to the

home. There were no noise complaints from neighbors nor were there any nuisance or disorderly

conduct complaints from neighbors. No one from the neighborhood or at the party complained

about rude behavior. None of the teenagers told their parents of anything inappropriate by

Crothers. Rather, the teenagers continued partying after Crothers went to bed. And many of them,

including KH and WO, spent the night and socialized with the Crothers’ children the next morning.

No one was outraged. Other than KH, no one complained about events related to the party until

Roundy came looking for so-called evidence.

       iv.     Roundy’s Report of the Investigation

       72.     Roundy conducted many secret interviews over the following days and ultimately

created a report. Roundy’s report showed red flags of a meritless case from the beginning that was

built on out-of-control rumors, but that never stopped him. Notable issues in Roundy’s report

include:

       •       From his first interview with KH, he writes in his report, “…she admitted she had

               been drinking and had drank too much alcohol,” “she turned around to speak with

               someone else and Crothers grabbed her butt. He then pulled her in and kissed her

               on the mouth.” The report stated that “[KH] said there were about four others who

               saw it.” These eyewitnesses never materialized. Only WO claimed he saw anything,

               but what WO claimed he saw did not match what KH described. Moreover, WO’s

               version of the events was initially different than KH’s. On information and belief,

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               WO only changed his story after it dawned on him that he was already in trouble

               with the law.

       •       During Roundy’s second interview with KH, her story changed from her first

               interview. KH now stated that “Crothers had grabbed her butt about 30 minutes

               BEFORE he kissed her…later in a hallway of a house when Crothers pulled her in

               and kissed her.” This time she said, “no one else was nearby to see the kiss.” This

               meant that WO didn’t see it either, contradicting the only witness who said he saw

               the kiss. Again, in the second interview, Roundy noted “[d]ue to consuming alcohol

               she had difficulty remembering some of the specific details of that night.” Roundy

               took no action concerning the admitted alcohol use by a minor.

       •       Roundy never challenged KH on the inconsistencies in her stories. In fact, Roundy

               never challenged any of the teenagers on their changing stories.

       •       WO’s story changed, too. As Roundy stated in his report, “[WO] heard other things

               that may have happened but did not witness these things and did not know if they

               actually occurred, such as Crothers grabbed [KH’s] butt.” WO changed his

               testimony in court. He was asked by the prosecutor: “so you testified that you saw

               Mr. Crothers try to kiss someone else. Was that DK?” WO Response: “Yes.” The

               allegation involving DK was that Crothers had kissed DK, a friend of the family,

               only on the cheek.

       73.     It should be noted that WO had been pressured to make the statements he made. As

one of the witnesses who attended the party and was friends with WO stated: “[WO] was very

close to [KH] and sympathized with her because they came from similar socio-economic

backgrounds. [WO] did not see Crothers kiss [KH] or kiss [DK], but [WO] felt pressured to say

so because he thought it would be helpful to his friends, [KH] and [DK].” The same witness stated

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that “[KH] pressured her boyfriend [RT] to testify to confirm her testimony that Mr. Crothers

touched her.” RT refused to confirm her testimony because he saw nothing, and RT and KH broke

up shortly after KH accused Crothers.

         74.      Roundy interviewed DK on May 22nd, twelve days after the party. DK had

admittedly been drinking at the party. Nevertheless, she claimed that Crothers kissed her on the

cheek.

         75.      A third girl, LK, claimed she was a victim after initially saying that she did not have

a moral issue with anything that occurred. Her allegations led to no charges against Crothers.

However, LK eventually was pushed by the prosecutors to testify that Crothers was in essence a

sexual predator. Yet her testimony is undermined by her very own actions: LK came over to the

Crothers’ house approximately ten times after the party at issue in May 2019, many times even

bringing her own half gallon of vodka with her, unbeknownst to Crothers, just as she did at the

party on May 2019. LK also continued to reach out to Crothers’ daughter, indicating that LK was

sorry for what she had said about Crothers. LK confided in Crothers’ daughter when she had

interpersonal problems with her friends and boyfriends. Such actions stand in stark contrast to the

behavior of someone who had been allegedly victimized by Crothers.

         76.      Moreover, LK incredibly testified at trial that she was hardly drinking and not doing

drugs at the party. This was patently not true. LK actually stayed at the party and had a good time

with Crothers and others, even after the alleged misconduct occurred. Moreover, Allan, the

prosecutor, knew with reasonable likelihood that it was not true when LK’s testimony was offered

at trial.6 LK’s parents had asked Allan about giving her immunity for drugs and alcohol use at the


6
 Crothers also learned after the trial from public records requests that during the trial, LK tried to edit evidence she
possessed from the party. She asked the victim services coordinator working with the prosecutor if she could forward
photos that made Crothers look bad but she wanted to edit herself out because she was “drinking and having fun.” In



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party. But Allan allowed her to lie in any event. Crothers did not know about the pocket immunity

promised to LK by Allan until after Crothers’ trial—because Allan suppressed the favorable

evidence from Crothers—so Crothers could do nothing about LK’s testimony at trial.

        v.      Roundy Confronts and Interviews Crothers and Then Issues Citations

        77.     After conducting interviews of the teenage students, Roundy blindsided Crothers

when he interviewed him. Roundy explained some of the allegations to Crothers, none of which

Crothers remembered and none of which Crothers admitted.

        78.     Nevertheless, Roundy—having already prepared the citations before speaking with

Crothers—immediately issued citations to Crothers after the interview. Crothers was cited with

unlawful contact for touching KH, allowing a house party, and breach of peace for allegedly using

bad language in a conversation in his own home.

        79.     Crothers was not arrested. Crothers was obviously not viewed as a threat or predator

to children despite later statements by Roundy and others to the contrary, as Roundy allowed

Crothers to go home after issuing the citations.

        vi.     The State Adds Charges After Crothers Refuses to Plead Guilty.

        80.     Crothers refused to plead guilty to the initial counts because he believed he had

done nothing wrong, so Teton County law enforcement upped the pressure. The State added two

new counts against Crothers after Crothers refused to plead guilty to the three misdemeanors he

was cited for. The first addition, another count of unlawful contact, was for an alleged kiss on the

cheek of DK. The second addition, a count for sexual battery, turned an alleged unlawful touching

of a buttocks into a sex crime, a far more serious charge.




other words, she looked bad too—and contradicted her testimony. Crothers does not believe Teton County has
forwarded photos of LK that “looked bad” as part of the records request.



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       81.     Upon information and belief, the charges were added not based on their merit but

because Allan and other prosecutors wanted a more high-profile case and/or believed that it would

increase pressure on Crothers to plea. Indeed, the same day the TCPA decided to bring the

additional charges, a TCPA prosecutor wrote to the victim witness coordinator that the

misdemeanor charges will likely be a “high profile case.” Further, Allan knew the claims were

being overblown, as he told Crothers’ attorney; when asked why Crothers was being so

aggressively prosecuted, Allan responded that he had been waiting twenty-two years to get a rich

guy who lived on the West Bank.

       vii.    Allan and the Prosecutors Tried Crothers’ Case in the Media and Intentionally
               Leaked Exaggerated and False Information to the Media with the Intent of
               Embarrassing and/or Prejudicing Crothers

       82.     From the beginning, TCPA and Allan were determined to try this case in the press.

One of the deputy county attorneys advised his colleague via email the day the additional battery

charge was added that “this would be a high-profile case,” and Weisman, the elected county

prosecutor, texted the local newspaper court reporter asking for a meeting so Weisman could

discuss this case. TCPA employees were communicating information to the media (specifically

the Jackson Hole News & Guide), which was ultimately published in articles that harmed Crothers’

reputation and violated his rights under the U.S. Constitution and Wyoming law.

       83.     Allan intentionally coordinated with the media to provide incendiary information

for the local newspaper to print on the front page. Plaintiffs have evidence they received after the

trial from public records requests in the form of texts and emails that show Allan and the TCPA

coordinating with the media and providing information to the media behind the scenes related to

ongoing matters. For example, a Teton County paralegal wrote an email to herself detailing a future

article to be written based on a future pleading by the state in the Crothers matter. No one at Teton




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County could have known about this if there hadn’t been coordination between the TCPA, Allan,

Weisman, and the media.

       84.     Upon information and belief, Allan and the TCPA were using the media to put

pressure on Crothers, ruin his reputation, and taint the small jury pool. The paper moved forward

with the juicy and false details that, upon information and belief, Allan provided, triggering

incendiary headlines. In the end, fourteen articles were printed in the press about Crothers. Allan

and other prosecutors were ruining Crothers reputation; they had no regard for the facts. Allan

repeatedly made prejudicial public statements about Crothers. For example, at one point, Allan

unnecessarily and falsely stated that if the girls were six months younger, Crothers would be facing

twenty years in prison. Allan’s factually and legally baseless hypothetical served no purpose other

than to secure a salacious headline in the local press.

       85.     Allan further violated Crothers’ statutory rights under Wyoming Statute § 6-2-319

by providing identifying information about Crothers prior to the sexual battery charge being filed

in the district court. Crothers’ case never left circuit court; therefore, it was always subject to the

protections under Wyoming Statute § 6-2-319. Allan repeatedly violated the statute by failing to

redact court documents to protect Crothers’ identity and by making various public statements to

the media that fully identified Crothers. Upon information and belief, Allan was providing publicly

identifying information with the intent of having the information public and in the newspaper.

       viii.   Roundy Intimidated Witnesses into Testifying, Including by Threatening Criminal
               Charges, While Allan and the Prosecutors Gave Promises to the Witnesses that
               They Would Not be Prosecuted for Using Alcohol and Drugs

       86.     On top of coordinating with the media, law enforcement and prosecutors in the

Crothers matter were doing everything they could to influence the witnesses, even improperly and

illegally at times. That is because the testimony of the witnesses in the Crothers trial were essential




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to the prosecution, given that there was no physical evidence of any wrongdoing; everything was

a “he said, she said,” and issues turned on witness credibility.

        87.      Roundy went on a witch hunt to find witnesses and once found, he used every

means of pressure he could to influence them to testify, even if it meant threatening criminal

conduct based on unrelated events. Upon information and belief, many of the witnesses had a prior

criminal record. These witnesses’ prior records made the pressure to comply even more severe.

Roundy was so determined to find “evidence” against Crothers that he began randomly

approaching students at the high school who he knew did not attend the party, asking if they “had

any information about the Crothers.”

        88.      For example, based on public records requests, Crothers has discovered an email

sent from the upset mother of PE, a minor who knew the Crothers well, to the principal of the high

school on September 16, 2019. The email from the mother reads in relevant part:

        Mr. Crisp,

        [Redacted]7 is my son. Tonight, [Redacted] informed me that Deputy Sheriff
        Andrew Roundy accused him of vandalizing the school over the Summer.
        Apparently, in this same meeting, [Redacted] was also accused of being at the
        Crothers’ home when there was an encounter between Mike Crothers and a minor.
        The deputy also told [Redacted] that he should influence the minor to testify. Both
        are false.

        (Emphasis added).

        89.      The intent of Roundy’s actions could not be clearer. Roundy brought in PE because

Roundy wanted to influence another “minor,” potentially KH, to testify, given that Crothers

understands that she no longer wanted to testify at that time. To exert more power, Roundy accused

PE of a crime to put him in a more vulnerable position—with the aim of having PE cooperate.



7
 The emails received through the public records requests had the names redacted. However, the mother’s name is
not redacted, and Crothers presumes the redacted name is that of PE.



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Roundy later admitted that there were only “whispers (less than even rumor) that PE was involved

in the graffiti case,” but Roundy made accusations against PE, knowing they were without

credibility, right before urging him to influence the minor to testify.

       90.     Roundy’s conduct was so severe that he was later investigated by a senior member

of the department, Lloyd Funk, and on September 23, 2019, Sheriff Matt Carr held a meeting

concerning this issue. In other words, what Roundy had done was so serious, it was escalated to

the top of the department. Crothers was never informed of this meeting before the trial. Moreover,

it appears there may have been a cover up of information and/or evidence showing Roundy’s

misconduct. On September 26, 2019, just three days later, Platt, an Investigations Sergeant, sent a

cryptic email to Dustin Richards in IT, where the subject line said only “DELETE.” The email

stated, “Same for SO190500029 ….” The identifier “SO190500029” appears to be the file number

for the Crothers’ case, and upon information and belief, information was deleted from the

Crothers’ file—apparently relating to Roundy’s conduct.

       91.     As for Allan, the Crothers’ public record request uncovered an email between the

parent of one of the teenage witnesses for the prosecution, where she told the lead prosecutor that

“several” of the parents were concerned their kids would get in trouble for “drinking or illegal

behavior” (i.e., illegal drugs) at the house party that led to Crothers’ charges. Therefore, the parent

asked the prosecutor whether “there is some sort of statement that could be made either in writing

or otherwise, assuring these families that their kids will not be held legally accountable for

underage drinking, etc., while on the stand for the case.” Allan responded that he was meeting with

“all the witnesses,” and that his team would “reassure them about drinking, etc.” As a result, the

prosecutor, unbeknownst to Crothers, made a pocket immunity deal with all the teenage witnesses

for the State that they would not be prosecuted for drinking alcohol or illegal drugs—which is a

high misdemeanor—the same type of crime Crothers was charged with. Allan, after being

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confronted with the email, later admitted he told the witnesses they would not be charged for

drinking alcohol or illegal drugs. That admission and email came far too late—after the trial of

Crothers was done. Allan had an obligation to inform Crothers’ defense team that he had provided

favorable treatment to the State’s witnesses. Allan failed to disclose this information.

       92.     Witnesses did not want to testify against Crothers because they did not think

Crothers had done anything wrong, but Teton County coerced witnesses into testifying while

intimidating other witnesses into not testifying on Crothers behalf. Roundy even told the witnesses

that the case would not go to trial, and Crothers would merely receive a fine and probation, but

later said it was out of his hands and they were the star of the State’s case.

       93.     Allan and Roundy, and others working in concert, were successful in pressuring the

teenage witnesses to testify against Crothers. Indeed, one of the witnesses who testified against

Crothers later texted Crothers’ daughter, stating that Crothers was “a good guy” and stating that

Crothers did not deserve what was happening to him—a radical departure from what she said on

the stand when Allan and prosecutors were pressuring her to testify. The father of another witness,

LK, even sent an email to Allan, which was never disclosed to Crothers until the public records

requests after trial, pleading with him about LK’s involvement in the court proceeding. He stated

in his letter that his daughter had no moral issues with anything she witnessed at the party and did

not want to be involved in prosecuting Crothers—but Allan and others pressured her to acquiesce.

       94.     Further, DK, the subject of one of the two unlawful contact convictions against

Crothers, indicated after trial that she neither witnessed nor experienced any inappropriate

behavior by Crothers on the night of the party and wanted nothing to do with the authorities’

pursuit of Crothers but was manipulated and coerced by Teton County and Roundy when he called

her into his school office. Likewise, DK indicated after trial that KH, the subject of the second of

the two unlawful contact convictions, reached out to DK early in the prosecution’s pursuit of

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Crothers and firmly expressed that she believed nothing inappropriate had occurred on the night

of the party and that she wanted nothing to do with the prosecution’s pursuit of Crothers but that

she too felt intimidated and coerced by Teton County into cooperating with the authorities on

Crothers’ case.

         ix.      The Trial of Crothers that Proceeded as a Circus

         95.      Crothers went to trial for several misdemeanors, but the atmosphere of the trial was

a circus. The courtroom was packed; in fact, there was not enough room for everyone who wanted

to attend. This atmosphere was amplified by Allan and the prosecutors’ manipulation of the local

media.

         96.      Three high school seniors were publicly admonished at the trial for throwing gang

signs at a witness and for being generally unruly. The judge threw out one of the three boys,

incidentally the Hispanic one. The other two, who were Caucasian, were allowed to stay.

Incidentally, this boy is also the son of a former mayor (not Muldoon). This former mayor was

also in attendance at the trial.

         97.      The former mayor in attendance intercepted the only witness who was brave

enough to testify on Crothers’ behalf. He was bullied in the witness room and through Snapchat

while he was waiting to testify. The former mayor stopped him on his way into the courtroom and

said, “Are you sure you want to do this?” By the time he was on the stand, the boy was completely

unsettled. This same witness was sent a Snapchat video of someone brandishing a gun as a threat

because he was testifying for Crothers. Crothers had other witnesses prepared to testify on his

behalf, but they were all intimidated by the alleged victim’s friends, family members, and,

ultimately, the prosecutor’s office, into not participating.

         98.      Witnesses for the State, on the other hand, were treating the case like it was a party.

They were assured they had nothing to fear, as they were promised not to be prosecuted if they

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testified for the prosecution. The night before the trial, several of the teenagers, including both the

alleged victims as well as several other potential witnesses, were partying in a hot tub and drinking

late into the evening, which they were brazen enough to post on social media. Two of the other

attendees in the hot tub were the two boys who were thrown out of the courtroom the day before

by the judge. The other boy was in the threatening video sent to Crothers’ witness. Allan saw the

video but did nothing about it. Moreover, after the trial, contradicting how one would act towards

the children of an alleged “sex predator”—as Crothers was inappropriately labeled—both of

Crothers’ children were contacted by DK and LK, two of the accusers, asking Crothers’ daughter

if they could “hang out.” LK even sent Crothers’ daughter a message stating, “I know I have a lot

of explaining to do.”

       99.     As another example, the mother of DK (the journalist) did not like that Crothers

had friends supporting him in the gallery at trial. She loudly said, “we need more people” and

began making phone calls. From this point on, there was a constant trickle of rude and disrespectful

people entering the courtroom. Nearly the entire senior class showed up. This same mother told

Crothers’ 17-year-old son during the trial that if his dad was not found guilty, they were “coming

after him next.”

       100.    While waiting for the verdict, Crothers’ friends and supporters waited peacefully

outside the courtroom in their cars as they wanted to be there for Crothers when the verdict was

read. DK’s mother, along with the mother’s friends, arrived in two cars, parked next to Crothers’

friends, got out of their cars and began harassing Crothers’ friends for supporting him. Upon

information and belief, the two moms and daughters were all drunk. The sheriff deputies in the

courthouse witnessed this and did nothing to stop it. When someone asked the deputies why they

did not intervene, they commented that Crothers’ friends were just as guilty as the drunk, angry

people who showed up, though this was clearly false

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       101.    During the trial, Allan presented no evidence to support the sexual battery charge,

and the jury returned a not guilty verdict on the sexual battery count. Crothers was only found

guilty on the lesser charges, two unlawful contact charges—due primarily to WO’s inconsistent

testimony that he had witnessed both alleged touchings—and one charge for allowing a house

party. After speaking with one of the jurors after the trial, Crothers learned that the jury was

strongly divided on whether Crothers was guilty of any of the lesser offenses. The juror stated that

if the jury had known about how the witnesses were promised immunity by the State, it is highly

unlikely Crothers would have been found guilty of any crime—as the State’s case centered entirely

on witness credibility because there was no direct evidence of wrongdoing.

       102.    After Crothers was acquitted of the most serious charges, he moved to the

sentencing portion of his case. During that phase, Allan again acted tortiously. Allan lightly

redacted photographs that had been previously sealed from public view to allow them to be

published again in the local newspaper. There was no lawful or tactical reasoning behind Allan’s

decision to lightly redact the photos, rather than sealing them. The decision was made simply to

further humiliate and cause emotional and financial damage to Crothers in the media. The light

redactions were useless, as everyone knew who the individuals were.

       103.    After the trial was over, Crothers and his family were forced to move out of Teton

County because of the damage that had been done to their reputation and the harassment and

vandalism that he, his children, and his wife faced as a result of Crothers being labeled a sex

predator by Allan and the local media.

       104.    Further, Crothers was deprived of a fair trial because of the undue media attention

Allan and Teton County generated against Crothers related to the baseless sexual battery charge.




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C.     Peter “Pete” Muldoon (“Muldoon”)

       105.     Muldoon served as mayor of Jackson from January 3, 2017 to January 4, 2021. As

mayor, Muldoon was responsible for, among other things, overseeing the police department’s

budget and responsible for holding the police department accountable to a high standard of public

service. After multiple disagreements between Muldoon and law enforcement officials regarding

budgeting, public relations, and police conduct, upon information and belief, law enforcement

officials retaliated against Muldoon by illegally releasing confidential information about Muldoon

that caused Muldoon to lose his re-election campaign for town council. The police department in

fact coordinated with the TCSO, and particularly Platt, to illegally release records of Muldoon just

before his re-election and retaliate against Muldoon to suppress his speech.

       i.       Muldoon Had a Prior False Accusation of Rape Against Him

       106.     For background, in or around 2017, Muldoon met JE. Muldoon and JE became

friendly over time and had consensual sex on a few occasions. Indeed, it was so consensual that

they talked about consent before having sex. Over time, JE wanted a more serious relationship

with Muldoon, but Muldoon was not interested in that at the time and had been clear about it from

the start of their relationship. When Muldoon attempted to end the relationship, JE refused to

accept the decision and threatened to claim that the consensual sex was rape. After Muldoon

insisted on ending the relationship anyway, JE retaliated by filing a false police report with TCSO

claiming that Muldoon had raped her.

       107.     TCSO took JE’s statement and then transferred the case to the Department of

Criminal Investigation (“DCI”), which is responsible for handling investigations into public

officials. DCI investigated the allegation thoroughly, reviewing hundreds of text messages in

which JE acknowledged that the sex was consensual. Eventually, the DCI produced an over 400-




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page report conclusively determining that JE’s allegation was false. At this point, the case was

closed.

          108.   Since Muldoon was never charged, the allegations against Muldoon were kept

confidential as required under the law. Nothing more came of the incident at that time.

          ii.    Muldoon, as Mayor and as a Private Citizen, Had Conflicts with Law Enforcement
                 and Openly Spoke Out Against the Law Enforcement in Teton County

          109.   In the summer 2020, the nation witnessed the killing of George Floyd in broad

daylight by a police officer. Along with many, Muldoon was outraged by the police conduct.

Following Floyd’s death, Muldoon asked Jackson Police Chief Todd Smith if he would make a

joint proclamation with Muldoon stating that, as the mayor and chief of police, they recognize that

black lives matter. Chief Smith rejected the idea of making a statement that black lives matter in

this country and instead wanted to issue a proclamation that would be “supporting our department

and its historical efforts to be exceptional,” and “to emphasis [sic] the good that your department

is already doing.” That was the last communication Muldoon received from Chief Smith. After

that email exchange, tensions mounted between Muldoon and the police department.

          110.   Soon thereafter, at the direction of the Town Council, Muldoon and the City

Manager asked the police department to submit a budget for review. The police department

submitted a $5,000,000 budget but resisted Muldoon’s request for details on how the funds would

be used. In fact, Chief Smith rallied police supporters to Town Hall to protest Muldoon and the

Town Council for performing their duties in reviewing the police department budget.

          111.   Shortly after the protest, a police officer was caught trivializing and joking about

sexual assault investigations. Muldoon and many others in the town were shocked and, as mayor,

Muldoon was vocal about his disapproval of the police officer’s conduct. Muldoon spoke out about

the inappropriate and unprofessional statement of the police officer and was critical of the officer’s



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conduct—all matters of public concern. The officer ultimately resigned, but the local law

enforcement community was further outraged by Muldoon’s actions.

       iii.    The Jackson Police Department Worked Together with the Teton County Sheriff’s
               Office Against Muldoon.

       112.    At this point, law enforcement in Teton County saw Muldoon as a threat, and they

were determined to remove him.

       113.    It is worth noting the close relationship and coordination between the Jackson

Police Department and the Teton County Sheriff’s Office (i.e., Defendant Teton County). Their

offices are across the street from each other. Employees move between the police department and

the sheriff’s office frequently. For example, former police chief Smith previously worked at the

TCSO. The TCSO also houses the 911 operations that the police department uses, and upon

information and belief, the two have financial connections.

       114.    The TCSO and Jackson Police Department are also connected through the Teton

County Auxiliary. Meg Daly, with Jackson Hole Community Radio, highlighted the joint efforts

by TCSO and the Jackson Police Department, through the Teton Sheriff’s Auxiliary, against

Muldoon in an August 25, 2020 article. Ms. Daly stated that the Teton Sheriff’s Auxiliary

“provides grants to law enforcement for equipment, training, and housing. In addition to the

combined $13 million official budgets for the Teton County Sheriff’s Office and Jackson Police

Department, these entities receive additional funds from the Auxiliary. According to the

Auxiliary’s tax returns, past items include grants for K-9 training, ‘necessary equipment required

by the police department,’ and housing assistance.” According to Ms. Daly, with the budget

dispute above, Chief of Police Todd Smith “asked his friend Jeff Brown at Teton Sheriff’s

Auxiliary to rally a few police supporters outside town hall [because] [r]umor had it the Town

Council would secretly be discussing defunding the police and Smith wanted people to know.”



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That was not true, of course—there were discussions to be had about the funding of the police—

which is common for any organization, police or otherwise—but Muldoon was not intending to

completely defund them.

       115.   Ms. Daly’s article explained the tension between law enforcement and Muldoon (at

the Town Council) well:

       Brown wrote an email to supporters. “This coming Monday, August 17, the Jackson
       Town Council will meet at 3 PM to discuss DEFUNDING the Jackson Police
       department, called “Mid Year Checking (sic)”, aka “Defunding the Police.”

       The call to action spread like wildfire on social media. A national pro-President
       Donald Trump, conservative action group, Turning Point Action, got wind of the
       planned gathering and sent robocalls to more Jackson residents. Local conservative
       millionaire Foster Friess attended the town hall rally. Friess provided the seed
       money for the group Turning Point USA, of which Turning Point Action is a part.

       In the end, dozens of protesters swarmed town hall ready to do verbal battle in
       support of law enforcement.

       Only problem was, no such discussion was on the agenda for the Town Council’s
       meeting.

       In recent months, police funding has been a hot topic in Jackson Hole, as citizen
       activists have urged local officials to redirect funding away from law enforcement
       and toward social services. Opponents say the police are fine as they are, filling a
       crucial role as protectors and peacekeepers. Caught in the middle are elected
       officials who have a backlog of other issues to address after a grueling several
       months mitigating the COVID-19 pandemic. But the pesky issue of police funding
       won’t go away.

       116.   Ms. Daly’s article continued to outline the distaste of Muldoon by Teton County

law enforcement:

       In his email to supporters, Brown said Smith had asked him to inform people about
       the meeting.

       “Chief Smith has asked that I gather as many as possible to completely overwhelm
       and outnumber the ‘DEFUND’ supporters that continually show up and are very
       outspoken,” Brown wrote. “This could be an excellent chance to squelch the
       DEFUND outcry in Jackson. Mayor Pete Muldoon seems to be fully in support of
       the idea and is pushing the agenda and needs to be set straight regarding the
       overwhelming community support of the PD.”

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Muldoon, for his part, said it is his responsibility to examine policing and its
funding streams. “I intend to fulfill that duty, and I’d be disappointed to learn there
are people in the community who think the police department and its budget are
exempt from public scrutiny,” he told KHOL.

The “defund outcry” Brown mentions has been largely led by Act Now JH, a
grassroots organization that formed in the wake of the police killing of George
Floyd in Minneapolis that sparked a global movement against police brutality and
systemic racism. Members of Act Now JH attended a number of town and county
meetings this summer as budgets for the 2020/2021 fiscal year were finalized. They
also met with councilors and commissioners privately to discuss their concerns. As
a result, the board of county commissioners set aside $10,000 for a public safety
task force.

One of the main organizers of Act Now JH, Rachel Attias, said that people on both
sides of the issue share a goal. “Believe it or not, the group that showed up to the
town council meeting wants the same thing we do, which is a safe community.”

Attias said the disagreement is over whether law enforcement provides that safety.
“Defunding the police really means increasing public safety by creating and
supporting community-led measures that prevent crime and enact restorative
justice,” she said.

No members of Act Now JH attended the August 17 workshop.

Meanwhile, town councilors expressed dismay.

“I am disappointed our community received mistaken information,” vice mayor
Hailey Morton Levinson said. “Our agendas were published last Thursday and did
not include any such item.”

The meeting in question was a routine workshop. Three items were posted on the
agenda: a mid-year check-in, a proposed ski pass contribution by Jackson Hole
Mountain Resort to START, and next steps for the Northern South Park
Neighborhood Plan.

Morton Levinson said that if the police budget is to be discussed, the public will
know about it. “As with anything we discuss as a council, notice will be given and
discussions and decisions will be held in a meeting open to the public,” she said.

She also said the public is always welcome to send an email to councilors at any
time.

Councilor Jonathan Schechter said the misinformation spread about the meeting
was “tremendously unfortunate.”



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       “We already have this incredibly fraught situation that is the state of our world right
       now,” he said. “It’s really important for everyone to take great care with our words
       and actions because everyone is under so much pressure.”

       Another council member placed the blame on Foster Friess. Councilman Jim
       Stanford said Friess “is still butt-hurt from failing to buy the governor’s race.
       Maybe he should try a Bayer aspirin.” Stanford was referring to Friess’s 2012
       comment on MSNBC suggesting women should squeeze an aspirin between their
       knees as a form of contraception.

       iv.     The Police Department Worked with the Teton County Sheriff’s Office to Illegally
               Release Records about Muldoon to Retaliate and Suppress His Speech, Which
               Resulted in His Losing the Town Council Election

       117.    It was clear that TSCO and Jackson Police Department were tired of Muldoon and

wanted to remove him from office and stop his commentary on law enforcement in Teton County.

       118.    The tensions between Muldoon and law enforcement were building up in the

summer and early fall of 2020, based on the public statements made by Muldoon. Importantly,

Muldoon was running for election to the town council on November 3, 2020 (Muldoon had decided

to not run for mayor again and pave the way for a colleague to do so, so he was running for town

council instead of mayor).

       119.    Then, on September 19, 2020, during the heat of Muldoon’s 2020 election

campaign, Gloria Courser, a member of the Jackson Police Department’s Mounted Patrol, filed a

records request for law enforcement records related to Muldoon. As a member of the Jackson

Police Department’s Mounted Patrol, Courser was in a unique position to know about confidential

law enforcement records, including the sealed records detailing the false rape allegations against

Muldoon in 2018. Moreover, upon information and belief, Courser’s decision to file the records

request was done in consultation with or at the urging of law enforcement in Teton County.

       120.    In response to Courser’s request, Teton County, and specifically Platt, illegally

released to Courser records concerning JE’s 2018 false rape allegation against Muldoon, which

clearly identified Muldoon as the alleged perpetrator. Interestingly, JE’s name was redacted. This

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release was a violation of the law, and it was also a retaliatory action to suppress Muldoon’s speech

against law enforcement in Teton County.

          121.   The records were ultimately released publicly, and the release received

considerable media exposure. Following the illegal disclosure, Muldoon faced intense public

backlash, had his reputation tarnished, and ultimately lost the election. Muldoon’s campaign

advisor bowed out because of the public release. The release, and public backlash, also created

severe emotional distress to Muldoon—for which he had to seek professional help. The release

undoubtedly severely impacted Muldoon’s chance of winning the race. Muldoon was a shoo-in to

win a seat on the council based on the primary (prior to the release of the information above), but

after the release he suffered at the general election.

          122.   In the aftermath of the illegal disclosure, Muldoon learned that JE had falsely

accused several other men of rape. In light of the repeated false allegations, Muldoon filed a report

with the TCSO detailing JE’s alleged crimes, including false reporting, blackmail, and bribery of

a public official. To date, TSCO has been unresponsive in providing updates to Muldoon about

whether TSCO is investigating JE and whether it is taking any action to prevent JE from harming

others.

                                  VII.    CAUSES OF ACTION

                                              COUNT I

Violation of Constitutional Rights Under 42 U.S.C. § 1983 Filed by Plaintiffs against Teton
           County for Promulgating Customs, Policies, Practices, or Usages that
                        Caused Violations of Constitutional Rights

          123.   Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs of the Complaint as if fully set forth herein.

          124.   Teton County employed individuals that deprived Plaintiffs of clearly settled

constitutional rights.

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       125.    Plaintiffs’ constitutional rights were violated because Teton County engaged in a

pattern or practice of inadequately training and inadequately supervising staff to prevent them from

committing constitutional violations.

       •       Doe’s Fourth Amendment rights were violated because of Teton County’s pattern

               or practice of inadequately training and supervising staff to prevent malicious

               prosecution in violation of the Fourth Amendment. Teton County’s pattern or

               practice of inadequate training and supervision to prevent malicious prosecution

               resulted in false statements and deliberate omissions in Doe’s arrest. This pattern

               or practice caused Doe to suffer damages and injuries.

       •       Doe’s Equal Protection rights were violated because of Teton County’s pattern or

               practice of inadequately training and supervising staff to prevent violations of the

               Equal Protection Clause. Teton County staff intentionally treated Doe differently

               than other similarly situated individuals by charging Doe with first degree sexual

               assault without any investigation into the accusers’ allegations and by arguing for

               excessive bail without adequate investigation and in reliance on false statements of

               fact. Doe was treated differently because of Teton County’s pattern or practice of

               inadequately training and supervising staff to prevent violations of the Equal

               Protection Clause. This pattern or practice caused Doe to suffer damages and

               injuries.

       •       Doe’s Fourteenth Amendment rights were violated because of Teton County’s

               pattern or practice of inadequately training and supervising staff to properly attest

               in affidavits accompanying arrest warrants. Teton County’s pattern or practice of

               inadequately training and supervising staff to properly attest in affidavits

               accompanying arrest warrants resulted in Teton County staff incorporating

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               fabricated evidence into the probable cause affidavit and supplemental affidavit

               accompanying Doe’s arrest warrant. This pattern or practice caused Doe to suffer

               damages and injuries.

       •       Crothers’ Fourth Amendment rights were violated because of Teton County’s

               pattern or practice of inadequately supervising staff to prevent malicious

               prosecution in violation of the Fourth Amendment. Teton County’s pattern or

               practice of inadequate training and supervision to prevent malicious prosecution

               resulted in Teton County maliciously prosecuting Crothers sexual battery without

               any evidence to support the charge. This pattern or practice caused Crothers to

               suffer damages and injuries.

       •       Crothers’ Fourteenth Amendment right to a fair trial was violated because of Teton

               County’s pattern or practice of inadequately training and supervising staff to

               prevent the making of harmful and prejudicial statements in coordination with the

               media as to deprive criminal defendants their right to a fair trial. Teton County’s

               pattern or practice of inadequate training and supervision resulted in Teton County

               staff making false, inflammatory remarks to the media regarding the unsupported

               sexual battery charge against Crothers. This pattern or practice caused Crothers to

               suffer damages. and inadequately training and supervising staff to properly attest

               in affidavits accompanying arrest warrants, in violation of the Fourteenth

               Amendment.

       126.    Further, Plaintiffs’ constitutional rights were violated because of Teton County’s

adoption of the custom and pattern or practice of abusing the confidentiality of individuals accused

of sexual assault and coordinating with the media to prejudice criminal defendants awaiting trial.

       •       Teton County violated Doe’s Equal Protection rights by intentionally treating Doe

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        differently than other similarly situated individuals, causing a document to be filed

        in the lower circuit court with more than enough information to identify Doe as the

        individual accused of sexual assault—a violation of Wyoming Statute § 6-2-319—

        and by telling the press—without investigating the charges or reviewing the

        transcript from Doe’s interview—that Doe had made “a full and complete

        confession”; displayed “predatory behavior”; and would be a “shark in a pool of

        innocent fish” if allowed to go back to high school. Teton County had no rational

        basis for the difference in treatment. Moreover, these acts were grounded in

        hostility. Teton County’s custom and pattern or practice of abusing the

        confidentiality of individuals accused of sexual assault and coordinating with the

        media to prejudice defendants caused this constitutional violation and caused Doe

        to suffer damages and injuries.

•       Teton County violated Crothers’ Fourteenth Amendment rights by disclosing

        Crothers identity as the individual accused of sexual assault and by coordinating

        with the media to put pressure on Crothers. Teton County provided the media with

        incendiary comments about Crothers, including one comment that Crothers would

        be facing twenty years in prison if the accusers were younger. The comments served

        no purpose other than to heighten public condemnation of Crothers and secure a

        salacious headline in the press. Teton County’s custom and pattern or practice of

        abusing the confidentiality of individuals accused of sexual assault and

        coordinating with the media to prejudice defendants caused this constitutional

        violation and caused Crothers to suffer damages and injuries.

•       Teton County violated Muldoon’s First Amendment rights by releasing a false rape

        allegation against Muldoon, which clearly identified Muldoon as the alleged

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               perpetrator. This release violated Wyoming Statute § 6-2-319 and was intended to

               suppress Muldoon’s speech against law enforcement in Teton County. The records

               release was subsequently provided to the media, resulting in severe public backlash

               and reputational damage. Teton County’s custom and pattern or practice of abusing

               the confidentiality of individuals accused of sexual assault and coordinating with

               the media to prejudice defendants caused this constitutional violation and caused

               Muldoon to suffer damages and injuries, including a campaign loss.

       127.     In each of these instances, Teton County was deliberately indifferent to the fact

that a constitutional violation was highly predictable consequence of the inadequate supervision.

       128.    Plaintiffs are entitled to compensatory damages from Teton County because Teton

County’s customs, inadequate training, and inadequate supervision caused Plaintiffs to be deprived

of constitutional rights and suffer damages and injuries.

                                             COUNT II

                 Violation of Constitutional Rights Under 42 U.S.C. § 1983
      Filed by Plaintiffs against Defendants Teton County and Carr, in his individual
                  and official capacity, for Failure to Train and Supervise

       129.    Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs of the Complaint as if fully set forth herein.

       130.     Defendant Carr is the final policymaker for purposes of law enforcement, training

and supervision and investigation in Teton County. He failed to train his deputies on how to

conduct a proper investigation which could unearth exculpatory evidence. He failed to train his

deputies on what constitutes probable cause so that his deputies would not file improper probable

cause affidavits. And he failed to train his staff on how to keep statutorily confidential information

confidential. Finally, Carr failed to supervise his deputies in the conduct of their investigations and

execution of probable cause affidavits.

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       131.    Defendant Carr failed to train and supervise Defendants Hodges Platt, Bommer,

and DOES resulting in a policy or custom of recklessly disclosing identifying information of

sexual assault victims and perpetrators.

       132.    The policy or custom of recklessly disclosing identifying information of sexual

assault victims and perpetrators was the cause in fact and proximate cause of the constitutional

violations alleged in Counts VIII-IX and Count XI.

       133.    Defendant Carr had actual knowledge of Defendants Hodges, Bommer, Platt and

DOES’ violation of Plaintiffs’ rights and acquiesced in that violation.

       134.    Defendant Carr, with deliberate indifference to the consequences, established and

maintained a policy practice or custom which directly caused the violation.

       135.    Alternatively, Defendant Carr directed his deputies to take the actions they did

against Doe, Crothers, and Muldoon, had knowledge of his subordinates’ violation of Plaintiffs’

rights or acquiesced in that violation, or with deliberate indifference to the consequences,

established and maintained a policy, practice or custom which directly caused violations of

Plaintiffs’ rights. As a result of Carr’s conduct, Plaintiffs suffered injury and are entitled to

compensatory damages against Defendants, and to punitive damages against Carr in his individual

capacity because he acted with callous and reckless disregard of Plaintiffs’ clearly settled

Constitutional rights.

                                           COUNT III

  Violation of Constitutional Rights Under 42 U.S.C. § 1983 Filed by Plaintiffs Doe and
 Crothers (for this count, “Plaintiffs”) against Defendants Teton County and Weisman, in
         her individual and official capacity, for Failure to Train and Supervise

       136.    Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs of the Complaint as if fully set forth herein.




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       137.    Defendant Weisman is the final policymaker for purposes of prosecution-related

decisions, prosecution-related investigations, and the training and supervision of prosecutors.

Weisman failed to train her prosecutors on probable cause for filing charges against a criminal

defendant. Weisman failed to train her prosecutors on how to investigate an accusation or charge.

She failed to train her prosecutors on the proper basis for adding a count against a criminal

defendant. She failed to train her staff on how to keep statutorily confidential information

confidential. And she failed to supervise her prosecutors in the prosecution of baseless charges

against Doe and Crothers. Finally, Weisman failed to train and supervise her prosecutors on

improper use of the press.

       138.    Defendant Weisman failed to train and supervise Defendants Allan and DOES

resulting in a policy or custom of recklessly disclosing identifying information of sexual assault

victims and perpetrators.

       139.    The policy or custom of recklessly disclosing identifying information of sexual

assault victims and perpetrators was the cause in fact and proximate cause of the constitutional

violations alleged in Counts VIII-IX and Count XI

       140.    Defendant Weisman had actual knowledge of Defendant Allan and DOES’

violation of Plaintiffs’ rights and acquiesced in that violation.

       141.    Defendant Weisman, with deliberate indifference to the consequences, established

and maintained a policy practice or custom which directly caused the violation.

       142.    Further, as it relates to Defendant Weisman in her individual capacity, her conduct

in relation to this claim was not part of an advocative function and does not lie at the very core of

a prosecutor’s role as an advocate.

       143.    Alternatively, Weisman directed her prosecutors to take the actions they did against

Doe and Crothers, had knowledge of her subordinates’ violation of Plaintiffs’ rights or acquiesced

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in that violation, or with deliberate indifference to the consequences, established and maintained a

policy, practice or custom which directly caused violations of Plaintiffs’ rights. As a result of

Weisman’s conduct, Plaintiffs suffered injury and are entitled to compensatory damages against

Defendants, and to punitive damages against Weisman in her individual capacity because she acted

with callous and reckless disregard of Plaintiffs’ clearly settled Constitutional rights.

                                            COUNT IV

     Violation of Plaintiff Doe’s Fourth Amendment Rights Under 42 U.S.C. § 1983 by
       Defendants Hodges, Bommer, Platt and ROES (for this count, “Defendants”)

       144.    Doe realleges and incorporates by reference the allegations contained in the

preceding paragraphs of the Complaint as if fully set forth herein.

       145.    While acting under color of state law, Defendants violated Doe’s clearly settled

Fourth Amendment rights by maliciously prosecuting Doe for First Degree Sexual Assault.

       146.    Defendants initiated and continued criminal judicial proceedings against Doe that

terminated in Doe’s favor.

       147.    Defendants Hodges, Bommer, and Platt intentionally misrepresented facts to

Weisman in her capacity as a prosecutor.

       148.    Defendants initiated the proceedings with want of probable cause.

       149.    Doe suffered damages and injuries as a direct cause and consequence of Defendants

abuses of process in violation of the Fourth Amendment. He is also entitled to punitive damages

because the Defendants acted with callous and reckless disregard for his Fourth Amendment rights.

       150.    Defendants are jointly and severally liable for these damages because the

Defendants concurrently caused Doe’s damages and injuries.




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                                            COUNT V

     Violation of Plaintiff Doe’s Fourth Amendment Rights Under 42 U.S.C. § 1983 by
       Defendants Allan, Hodges, Bommer, and Platt (for this count, “Defendants”)

        151.    Doe realleges and incorporates by reference the allegations contained in the

preceding paragraphs of the Complaint as if fully set forth herein.

        152.    While acting under color of state law, Defendants violated Doe’s clearly settled

Fourth Amendment right to be free from unlawful seizure as a result of Doe’s unlawful arrest.

        153.    Allan, deputy prosecutor for the TCPA, directed the investigation and arrest of Doe

in coordination with the Hodges, Bommer, and Platt, deputy sheriffs at the TCSO.

        154.    In the warrant affidavit for Doe’s arrest, Defendants deliberately made false

statements and/or omissions that created a falsehood.

        155.    Defendants made those false statements and omissions deliberately or with reckless

disregard for the truth.

        156.    Defendants’ false statements and omissions were material or necessary to the

finding of probable cause for the arrest warrant.

        157.    As a direct cause and consequence of the Defendants’ conduct, Doe has suffered

damages and injuries. He is also entitled to punitive damages because the Defendants acted with

callous and reckless disregard for his Fourth Amendment rights.

        158.    Defendants are jointly and severally liable for these damages because the

Defendants concurrently caused Doe’s damages and injuries.

                                           COUNT VI

Violation of Plaintiff Doe’s Fourteenth Amendment Rights Under 42 U.S.C. § 1983 against
       Defendants Allan, Platt, Hodges, and Bommer (for this count, “Defendants”)

        159.    Doe realleges and incorporates by reference the allegations contained in the

preceding paragraphs of the Complaint as if fully set forth herein.

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       160.    While acting under color of state law, Defendants violated Doe’s clearly settled

Fourteenth Amendment right to due process by intentionally delaying in bringing charges against

Doe until after November 29, 2019, when Doe turned 18 and could be charged as an adult.

       161.    Allan, deputy prosecutor for the TCPA, directed the investigation and arrest of Doe

in coordination with Platt, Hodges, and Bommer, deputy sheriffs at the TCSO.

       162.    In Defendant Bommer’s December 10, 2019 interview with IU, the day after Doe’s

arrest, Defendant Bommer admitted to IU that the pre-charging delay was an intentional maneuver

to gain a tactical advantage over Doe. Indeed, Bommer specifically told IU that “[w]e [the TCPA

and TCSO] did wait until [Doe] was over 18, so we could charge him [Doe] as an adult.”

       163.    The pre-charging delay caused Doe to suffer actual prejudice. Defendants

intentional, tactical delay has caused Doe immense emotional distress and has forever impaired

his future. Because of Defendants pre-charging delay, Doe was deprived of the protections

afforded to juvenile criminal defendants under the Wyoming Juvenile Justice Act (WY Stat. §§

14-6-201 et. seq.), including the right to confidentiality in Wyoming Statute § 14-6-203. As a

result, Doe lost his right to confidentiality and had his reputation ruined with headlines touting his

purported confession to rape. The disclosure of the accusations has cost Doe employment

opportunities; it has affected his ability to apply to colleges and to obtain housing; and it has

prevented him from developing meaningful relationships. As a direct cause and consequence of

the Defendants’ conduct, Doe has suffered damages and injuries. He is also entitled to punitive

damages because the Defendants acted with callous and reckless disregard for his Fourteenth

Amendment right.

       164.    Defendants are jointly and severally liable because the Defendants concurrently

caused Doe’s damages and injuries.




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                                          COUNT VII

    Violation of Plaintiff Doe’s Fourteenth Amendment Rights Under 42 U.S.C. § 1983
                  against Defendant Hodges (for this count, “Defendant”)

       165.    Doe realleges and incorporates by reference the allegations contained in the

preceding paragraphs of the Complaint as if fully set forth herein.

       166.    Defendant Hodges knowingly fabricated evidence in a probable cause affidavit and

supplemental report.

       167.    The fabricated evidence was used against Doe and deprived Doe of his liberty.

       168.    The charges against Doe based on this fabricated evidence were ultimately dropped.

The Defendant thus violated Doe’s clearly settled Fourteenth Amendment rights. He is therefore

liable for compensatory damages and punitive damages as well because he acted with callous and

reckless disregard for Doe’s Fourteenth Amendment rights.

                                          COUNT VIII

                 Violation of Plaintiff Doe’s Right to Equal Protection Under
                42 U.S.C. § 1983 against Defendants Carr, Weisman, Hodges,
               Bommer, Platt, Allan, and ROES (for this count, “Defendants”)

       169.    Doe realleges and incorporates by reference the allegations contained in the

preceding paragraphs of the Complaint as if fully set forth herein.

       170.    Doe was intentionally treated differently by Defendants from other similarly

situated individuals when Defendants released Doe’s name or identifying information in violation

of Wyoming Statute § 6-2-319. Defendants had no rational basis for the difference in treatment,

moreover, it was grounded in hostility.

       171.    Doe was intentionally treated differently by Defendants from other similar situated

individuals when Defendants arrested and charged Doe with first degree sexual assault without

any investigation into the accusers’ allegations. For example, Doe’s defense team alerted



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Defendants of a Jackson Hole High School student who had described being raped by a PE

teacher/coach at Jackson Hole High School. Yet Defendants failed to investigate, arrest, or charge

said individual.

       172.    Doe was intentionally treated differently by Individual Defendants from other

similarly situated individuals when Defendants argued for excessive bail without adequate

investigation and in reliance false statements of fact.

       173.    Defendants’ conduct was irrational, wholly arbitrary, motivated by the Defendants

animosity towards Doe, and in violation of Doe’s clearly settled Equal Protection rights.

       174.    Further, as it relates to Defendants Allan and County Attorney Weisman, their

conduct in relation to this claim was not part of an advocative function and does not lie at the very

core of a prosecutor’s role as an advocate. This claim is based on their investigatory work.

       175.    Defendants’ conduct caused Doe to suffer harm, including mental anguish,

reputational harm, pain and suffering, and other damages. He is also entitled to punitive damages

because the Defendants acted with callous and reckless disregard for his Equal Protection rights.

       176.    Defendants are jointly and severally liable for these damages because the

Defendants concurrently caused Doe’s damages and injuries.

                                            COUNT IX

            Violation of Plaintiff Crothers’ Fourteenth Amendment Rights Under
                42 U.S.C. § 1983 against Defendants Carr, Weisman, Hodges,
               Bommer, Platt, Allan, and ROES (for this count, “Defendants”)

       177.    Crothers realleges and incorporates by reference the allegations contained in the

preceding paragraphs of the Complaint as if fully set forth herein.

       178.    Acting under color of law, Defendants made false and prejudicial statements about

Crothers and released prejudicial images of Crothers that were prominently displayed in the media.

These false statements and inflammatory images inflamed Teton County against him and deprived

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him of his right to a fair trial in violation of his clearly settled Fourteenth Amendment rights.

       179.    Further, as it relates to Defendants Allan and Weisman, their conduct in relation to

this claim was not part of an advocative function and does not lie at the very core of a prosecutor’s

role as an advocate. Providing information to the press and speaking to the press is not a part of

the prosecutor’s job or role as an advocate.

       180.    As a direct cause and consequence of the Defendants’ conduct, Crothers has

suffered damages and injuries. He is also entitled to punitive damages because the Defendants

acted with callous and reckless disregard for his Fourteenth Amendment right.

       181.    Defendants are jointly and severally liable for these damages because the

Defendants concurrently caused Crothers’s damages and injuries.

                                               COUNT X

    Violation of Plaintiff Crothers’ Fourth Amendment Rights Under 42 U.S.C. § 1983
   against Defendants Platt, Hodges, Weisman, and ROES (for this count, “Defendants”)

       182.    Crothers realleges and incorporates by reference the allegations contained in the

preceding paragraphs of the Complaint as if fully set forth herein.

       183.    While acting under color of state law, Defendants violated Crothers’ clearly settled

Fourth Amendment rights by maliciously prosecuting Crothers for sexual battery.

       184.    Defendants instituted and continued criminal judicial proceedings against Crothers

that terminated in Crothers’ favor.

       185.    Defendants initiated the proceedings with malice against Crothers.

       186.    Defendants instituted the proceedings with want of probable cause.

       187.    As a direct cause and consequence of the abuses of process by Defendants, Crothers

suffered damages and injuries. He is also entitled to punitive damages because the Defendants

acted with callous and reckless disregard for his Fourth Amendment rights.



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       188.    Defendants are jointly and severally liable because the Defendants concurrently

caused Crothers’s damages and injuries.

                                           COUNT XI

      First Amendment Retaliation Under 42 U.S.C. § 1983 Filed by Plaintiff Muldoon
          against Defendants Platt, Carr and DOES (for this count, “Defendants”)

       189.    Muldoon realleges and incorporates by reference the allegations contained in the

preceding paragraphs of the Complaint as if fully set forth herein.

       190.    Muldoon was engaged in a constitutionally protected activity—speaking out about

the conduct of law enforcement in Teton County.

       191.    The release of information by Defendants in violation of Wyoming Statute § 6-2-

319 caused Muldoon to suffer an injury that would chill a person of ordinary firmness from

continuing to engage in that activity.

       192.    Defendants’ actions were substantially motivated by Muldoon’s constitutionally

protected conduct and violated Muldoon’s clearly settled First Amendment rights.

       193.    Muldoon suffered damages and injuries as a direct cause and consequence of

Defendants retaliation. He is also entitled to punitive damages because the Defendants acted with

callous and reckless disregard for his Fourth Amendment rights.

       194.    Defendants are jointly and severally liable because the Defendants concurrently

caused Muldoon’s damages and injuries.

                                          COUNT XII

        Negligence (Per Se) Filed by Plaintiffs against Certain Individual Defendants

       195.    Plaintiffs reallege and incorporate by reference the preceding paragraphs of this

Complaint as if fully set forth herein.

       196.    Plaintiff Doe’s and Plaintiff Crothers’ claims for negligence (per se) are against



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Individual Defendants Carr, Weisman, Hodges, Bommer, Platt, and Allan. Plaintiff Muldoon’s

claim for negligence (per se) is against Individual Defendants Carr and Platt. Although the named

defendants for Plaintiffs’ claims vary, the allegations supporting the claims all concern the same

illegal abuse of confidential information relating to the identity of alleged sexual assault

perpetrators.

          197.   Under Wyoming Statute § 6-2-319(a), “[p]rior to the filing of an information or

indictment in district court charging a violation of an offense under this article, neither the names

of the alleged actor or the victim of the charged offense nor any other information reasonably likely

to disclose the identities of the parties shall be released or negligently allowed to be released to the

public by any public employee except as authorized by the judge with jurisdiction over the criminal

charges. The actor’s name may be released to the public to aid or facilitate an arrest. This

subsection shall not apply if release of the name or information is necessary to enforce an order

for protection against the alleged actor.”

          198.   Defendants are public employees that violated Wyoming Statute § 6-2-319(a) by

releasing or negligently allowing to be released the names or information reasonably likely to

disclose the identifies of Plaintiffs, each alleged actors of an offense charged under Article 3 of

Wyoming Statutes Annotated Title 6, Chapter 2, to the public prior to the filing of an information

or indictment in district court charging a violation of an offense under Article 3 of Wyoming

Statutes Annotated Title 6, Chapter 2.

          199.   Defendants were not authorized by the judge with jurisdiction over the criminal

charges to release or negligently allow to be released said information.

          200.   Defendants did not release the actor’s name to the public to aid or facilitate an

arrest.

          201.   Nor was the release of the Plaintiffs’ names or information necessary to enforce an

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order for protection against any of the Plaintiffs.

       202.    In violating Wyoming Statute § 6-2-319(a), Defendants were not acting under color

of law or within the scope of their duties. Rather, they were breaking the law and acting in

dereliction of their duties. Plaintiffs assert this cause of action against Defendants as private

citizens and not as public officials.

       203.    Further, as it relates to Defendants Allan and Weisman, their conduct in relation to

this claim was not part of an advocative function and does not lie at the very core of a prosecutor’s

role as an advocate. Providing information to the press and speaking to the press is not a part of

the prosecutor’s job or role as an advocate.

       204.    Defendants’ violation of Wyoming Statute § 6-2-319(a) caused Plaintiffs to suffer

reputational harm, mental anguish, pain and suffering, loss of employment, among other damages.

                                            COUNT XIII

            Intentional Infliction of Emotional Distress Filed by Plaintiffs against
                                 Certain Individual Defendants

       205.    Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs of the Complaint as if fully set forth herein.

       206.    Plaintiff Doe’s and Plaintiff Crothers’ claims for intentional infliction of emotional

distress are against Individual Defendants Carr, Weisman, Hodges, Bommer, Platt, and Allan.

Plaintiff Muldoon’s claim for intentional infliction of emotional distress is against Individual

Defendants Carr and Platt. Although the named defendants for Plaintiffs’ claims vary, the

allegations supporting the claims all concern the same illegal abuse of confidential information

relating to the identity of alleged sexual assault perpetrators.

       207.    Under Wyoming Statute § 6-2-319(a), “[p]rior to the filing of an information or

indictment in district court charging a violation of an offense under this article, neither the names



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of the alleged actor or the victim of the charged offense nor any other information reasonably likely

to disclose the identities of the parties shall be released or negligently allowed to be released to the

public by any public employee except as authorized by the judge with jurisdiction over the criminal

charges. The actor’s name may be released to the public to aid or facilitate an arrest. This

subsection shall not apply if release of the name or information is necessary to enforce an order

for protection against the alleged actor.”

          208.   Defendants are public employees that violated Wyoming Statute § 6-2-319(a) by

releasing or recklessly allowing to be released the names or information reasonably likely to

disclose the identifies of Plaintiffs, each alleged actors of an offense charged under Article 3 of

Wyoming Statutes Annotated Title 6, Chapter 2, to the public prior to the filing of an information

or indictment in district court charging a violation of an offense under Article 3 of Wyoming

Statutes Annotated Title 6, Chapter 2.

          209.   Defendants were not authorized by the judge with jurisdiction over the criminal

charges to release or negligently allow to be released said information.

          210.   Defendants did not release the actor’s name to the public to aid or facilitate an

arrest.

          211.   Nor was the release of the Plaintiffs’ names or information necessary to enforce an

order for protection against any of the Plaintiffs.

          212.   In violating Wyoming Statute § 6-2-319(a), Defendants were not acting under color

of law or within the scope of their duties. Rather, they were breaking the law and acting in

dereliction of their duties. Plaintiffs assert this cause of action against Defendants as private

citizens and not as public officials.

          213.   Further, as it relates to Defendants Allan and Weisman, their conduct in relation to

this claim was not part of an advocative function and does not lie at the very core of a prosecutor’s

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role as an advocate. Providing information to the press and speaking to the press is not a part of

the prosecutor’s job or role as an advocate.

       214.    Defendants’ violation of Wyoming Statute § 6-2-319(a) was extreme and

outrageous, and intentionally or recklessly caused Plaintiffs to suffer severe emotion harm such as

reputational harm, mental anguish, and pain and suffering.

                                          COUNT XIV

       Malicious Prosecution Filed by Plaintiff Doe against Defendants Carr, Hodges,
               Bommer, Platt and ROES Under Wyoming Statute § 1-39-112

       215.    Doe realleges and incorporates by reference the allegations contained in the

preceding paragraphs of the Complaint as if fully set forth herein.

       216.    While acting within the scope of their duties, Defendants maliciously prosecuted

Doe for first degree sexual assault.

       217.    Defendants instituted and continued criminal judicial proceedings against Doe that

terminated in favor of Doe.

       218.    Defendants instituted the proceedings with malice against Doe.

       219.    Defendants instituted the proceedings with want of probable cause.

       220.    Doe has suffered damages and injuries as a direct cause and consequence of the

abuses of process by Defendants.

                                           COUNT XV

                            Negligence Filed by Plaintiffs against
              Certain Individual Defendants Under Wyoming Statute § 1-39-112

       221.    Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs of the Complaint as if fully set forth herein.

       222.    Plaintiff Doe’s and Plaintiff Crothers’ claims for negligence are against Individual

Defendants Carr, Weisman, Hodges, Bommer, Platt, and Allan. Plaintiff Muldoon’s claim for

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negligence is against Individual Defendants Carr and Platt. Although the named defendants for

Plaintiffs’ claims vary, the allegations supporting the claims all concern the same illegal abuse of

confidential information relating to the identity of alleged sexual assault perpetrators.

          223.   This cause of action is brought in the alternative to Count XVI—Intentional

Infliction of Emotional Distress.

          224.   Under Wyoming Statute § 6-2-319(a), “[p]rior to the filing of an information or

indictment in district court charging a violation of an offense under this article, neither the names

of the alleged actor or the victim of the charged offense nor any other information reasonably likely

to disclose the identities of the parties shall be released or negligently allowed to be released to the

public by any public employee except as authorized by the judge with jurisdiction over the criminal

charges. The actor’s name may be released to the public to aid or facilitate an arrest. This

subsection shall not apply if release of the name or information is necessary to enforce an order

for protection against the alleged actor.”

          225.   Defendants are public employees that violated Wyoming Statute § 6-2-319(a) by

releasing or negligently allowing to be released the names or information reasonably likely to

disclose the identifies of Plaintiffs, each alleged actors of an offense charged under Article 3 of

Wyoming Statutes Annotated Title 6, Chapter 2, to the public prior to the filing of an information

or indictment in district court charging a violation of an offense under Article 3 of Wyoming

Statutes Annotated Title 6, Chapter 2.

          226.   Defendants were not authorized by the judge with jurisdiction over the criminal

charges to release or negligently allow to be released said information.

          227.   Defendants did not release the actor’s name to the public to aid or facilitate an

arrest.

          228.   Nor was the release of the Plaintiffs’ names or information necessary to enforce an

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order for protection against any of the Plaintiffs.

        229.       In violating Wyoming Statute § 6-2-319(a), Defendants acted withing the scope of

their duties.

        230.       Defendants’ violation of Wyoming Statute § 6-2-319(a) caused Plaintiffs to suffer

reputational harm, mental anguish, pain and suffering, loss of employment, among other damages.

                                              COUNT XVI

                Intentional Infliction of Emotional Distress Filed by Plaintiffs against
                 Certain Individual Defendants Under Wyoming Statute § 1-39-112

        231.       Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs of the Complaint as if fully set forth herein.

        232.       This cause of action is brought in the alternative to Count XV—Negligence.

        233.       Plaintiff Doe’s and Plaintiff Crothers’ claims for intentional infliction of emotional

distress are against Individual Defendants Carr, Weisman, Hodges, Bommer, Platt, and Allan.

Plaintiff Muldoon’s claim for intentional infliction of emotional distress is against Individual

Defendants Carr and Platt. Although the named defendants for Plaintiffs’ claims vary, the

allegations supporting the claims all concern the same illegal abuse of confidential information

relating to the identity of alleged sexual assault perpetrators.

        234.       Under Wyoming Statute § 6-2-319(a), “[p]rior to the filing of an information or

indictment in district court charging a violation of an offense under this article, neither the names

of the alleged actor or the victim of the charged offense nor any other information reasonably likely

to disclose the identities of the parties shall be released or negligently allowed to be released to the

public by any public employee except as authorized by the judge with jurisdiction over the criminal

charges. The actor’s name may be released to the public to aid or facilitate an arrest. This

subsection shall not apply if release of the name or information is necessary to enforce an order



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for protection against the alleged actor.”

          235.     Defendants are public employees that violated Wyoming Statute § 6-2-319(a) by

releasing or recklessly allowing to be released the names or information reasonably likely to

disclose the identifies of Plaintiffs, each alleged actors of an offense charged under Article 3 of

Wyoming Statutes Annotated Title 6, Chapter 2, to the public prior to the filing of an information

or indictment in district court charging a violation of an offense under Article 3 of Wyoming

Statutes Annotated Title 6, Chapter 2.

          236.     Defendants were not authorized by the judge with jurisdiction over the criminal

charges to release or negligently allow to be released said information.

          237.     Defendants did not release the actor’s name to the public to aid or facilitate an

arrest.

          238.     Nor was the release of the Plaintiffs’ names or information necessary to enforce an

order for protection against any of the Plaintiffs.

          239.     In violating Wyoming Statute § 6-2-319(a), Defendants were acting with the scope

of their duties.

          240.     Defendants’ violation of Wyoming Statute § 6-2-319(a) was extreme and

outrageous, and intentionally or recklessly caused Plaintiffs to suffer severe emotion harm such as

reputational harm, mental anguish, and pain and suffering.

                        VIII. RELIEF REQUESTED AS TO ALL COUNTS

          WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that this Court enter judgment

for Plaintiffs and against Defendants as follows:

          a.       Awarding compensatory damages to Plaintiffs against all Defendants jointly and
                   severally for lost wages, costs of seeking substitute employment, costs of relocating
                   residences, emotional distress, harm to reputation, mental anguish, and pain and
                   suffering, in the amount to be determined at trial;



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b.       Awarding punitive damages to Plaintiffs against the Individual Defendants for their
         federal constitutional violations;

c.       Awarding punitive damages to Plaintiffs against the Individual Defendants for
         intentional infliction of emotional distress and other torts;

d.       Awarding pre- and post-judgment interest on any of the foregoing amounts;

e.       Awarding such other relief as the court deems just and proper under the
         circumstances; and

f.       Awarding costs and attorneys’ fees pursuant to 42 U.S.C. § 1988.




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Dated: February 14, 2022            Respectfully submitted,



                                    By:_________________

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